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         Exhibit D
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Trustify                      Balance         $96,767.40
Receivers Office                                           Invoice #       20190151
Link Motion, Inc.                                          Invoice Date    February 28, 2019
                                                           Payment Terms   Due on Receipt
                                                           Due Date        February 28, 2019




LKM Receivership

For services rendered between
February 01, 2019 and February 28, 2019

Time Entries

Date           EE                                                 Rate     Hours     Line Total




02/01/2019     SS                                              $600.00       4.6     $2,760.00




02/01/2019     NF                                              $325.00       2.1      $682.50


02/01/2019     NF                                              $325.00       2.5      $812.50


02/01/2019     RWS                                             $750.00       2.6     $1,950.00




02/04/2019     SS                                              $600.00       3.2     $1,920.00




02/04/2019     PK                                              $450.00       0.4      $180.00



02/04/2019     DBG                                             $450.00       4.0     $1,800.00
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02/04/2019     NF                                              $325.00       3.0     $975.00




02/05/2019     SS                                              $600.00       3.7    $2,220.00




02/05/2019     KC                                              $275.00       0.6     $165.00


02/05/2019     KC                                              $275.00       0.5     $137.50


02/05/2019     PK                                              $450.00       0.3     $135.00



02/05/2019     RWS                                             $750.00       3.1    $2,325.00




02/05/2019     RWS                                             $750.00       3.5    $2,625.00


02/05/2019     NF                                              $325.00       3.0     $975.00




02/05/2019     DBG                                             $450.00       5.8    $2,610.00




02/06/2019     KC                                              $275.00       0.5     $137.50




02/06/2019     SS                                              $600.00       6.3    $3,780.00




02/06/2019     RWS                                             $750.00       2.6    $1,950.00




02/06/2019     SS                                              $600.00       1.5     $900.00
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02/06/2019     NF                                              $325.00       3.2    $1,040.00


02/06/2019     DBG                                             $450.00       2.5    $1,125.00


02/06/2019     EK                                              $275.00       1.0     $275.00




02/07/2019     SS                                              $600.00       4.8    $2,880.00




02/07/2019     PK                                              $450.00       3.0    $1,350.00




02/07/2019     SS                                              $600.00       2.2    $1,320.00




02/07/2019     SS                                              $600.00       1.2     $720.00




02/07/2019     RWS                                             $750.00       2.0    $1,500.00




02/07/2019     DBG                                             $450.00       4.0    $1,800.00


02/07/2019     NF                                              $325.00       4.0    $1,300.00


02/07/2019     EK                                              $275.00       0.1      $27.50


02/08/2019     RWS                                             $750.00       2.0    $1,500.00




02/08/2019     SS                                              $600.00       4.2    $2,520.00




02/08/2019     DBG                                             $450.00       2.1     $945.00


02/08/2019     NF                                              $325.00       2.0     $650.00
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02/09/2019     SS                                              $600.00       2.8    $1,680.00




02/10/2019     SS                                              $600.00       3.4    $2,040.00



02/10/2019     PK                                              $450.00       0.9     $405.00

02/10/2019     DBG                                             $450.00       1.1     $495.00


02/11/2019     RWS                                             $750.00       2.0    $1,500.00


02/11/2019     DBG                                             $450.00       1.5     $675.00


02/11/2019     EK                                              $275.00       3.5     $962.50


02/12/2019     PK                                              $450.00       2.1     $945.00


02/12/2019     RWS                                             $750.00       1.2     $900.00


02/12/2019     DBG                                             $450.00       1.8     $810.00




02/12/2019     SS                                              $600.00       3.4    $2,040.00




02/12/2019     NF                                              $325.00       3.7    $1,202.50

02/12/2019     EK                                              $275.00       0.6     $165.00



02/13/2019     SS                                              $600.00       2.3    $1,380.00




02/13/2019     NF                                              $325.00       2.9     $942.50



02/13/2019     EK                                              $275.00       3.5     $962.50



02/14/2019     PK                                              $450.00       2.0     $900.00



02/14/2019     SS                                              $600.00       1.5     $900.00
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02/14/2019     NF                                              $325.00       2.3     $747.50


02/15/2019     NF                                              $325.00       0.5     $162.50


02/15/2019     SS                                              $600.00       0.2     $120.00




02/18/2019     SS                                              $600.00       3.2    $1,920.00




02/18/2019     NF                                              $325.00       0.7     $227.50
02/19/2019     DBG                                             $450.00       0.5     $225.00
02/19/2019     NF                                              $325.00       0.4     $130.00

02/19/2019     SS                                              $600.00       0.8     $480.00




02/20/2019     SS                                              $600.00       5.1    $3,060.00




02/20/2019     DBG                                             $450.00       1.5     $675.00


02/20/2019     NF                                              $325.00       0.3      $97.50


02/20/2019     EK                                              $275.00       4.0    $1,100.00


02/21/2019     DBG                                             $450.00       1.2     $540.00


02/21/2019     NF                                              $325.00       0.6     $195.00


02/21/2019     SS                                              $600.00       1.0     $600.00


02/21/2019     RWS                                             $750.00       2.8    $2,100.00


02/21/2019     SS                                              $600.00       1.7    $1,020.00
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02/22/2019     SS                                              $600.00       2.2    $1,320.00



02/22/2019     NF                                              $325.00       0.2      $65.00

02/22/2019     RWS                                             $750.00       0.7     $525.00


02/23/2019     SS                                              $600.00       0.5     $300.00


02/25/2019     DBG                                             $450.00       0.7     $315.00
                                                         .



02/25/2019     SS                                              $600.00       1.3     $780.00



02/25/2019     RWS                                             $750.00       1.0     $750.00


02/25/2019     DBG                                             $450.00       0.7     $315.00


02/25/2019     SS                                              $600.00       2.1    $1,260.00


02/25/2019     NF                                              $325.00       1.5     $487.50


02/25/2019     EK                                              $275.00       0.9     $247.50


02/26/2019     RWS                                             $750.00       1.5    $1,125.00


02/26/2019     PK                                              $450.00       0.4     $180.00


02/26/2019     DBG                                             $450.00       3.1    $1,395.00


02/26/2019     NF                                              $325.00       1.0     $325.00

02/26/2019     RWS                                             $750.00       0.8     $600.00

02/26/2019     RWS                                             $750.00       0.2     $150.00



02/27/2019     SS                                              $600.00       1.8    $1,080.00




02/27/2019     DBG                                             $450.00       2.7    $1,215.00


02/27/2019     DBG                                             $450.00       0.3     $135.00
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02/27/2019     SS                                              $600.00                 2.2       $1,320.00




02/27/2019     RWS                                             $750.00                 0.5         $375.00

02/28/2019     DBG                                             $450.00                 0.5         $225.00




02/28/2019     SS                                              $600.00                 1.9       $1,140.00




02/28/2019     RWS                                             $750.00                 0.7         $525.00


02/28/2019     NF                                              $325.00                 0.6         $195.00

                                                                Totals:              189.1      $96,647.50
Expenses

Date         EE                                                           Cost       Quantity    Line Total


02/06/2019   KC                                                      $22.05               1.0       $22.05



02/28/2019   SS                                                      $97.85               1.0       $97.85


                                                                             Expense Total:        $119.90


                                                                  Time Entry Sub-Total:         $96,647.50
                                                                    Expense Sub-Total:            $119.90
                                                                                 Sub-Total:     $96,767.40


                                                                                     Total:     $96,767.40
                                                                           Amount Paid:              $0.00

                                                                            Balance Due:        $96,767.40
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Trustify                        Balance         $84,801.19
Receivers Office                                             Invoice #       20190152
Link Motion, Inc.                                            Invoice Date    March 31, 2019
                                                             Payment Terms   Due on Receipt
                                                             Due Date        March 31, 2019




LKM Receivership

For services rendered between
March 01, 2019 and March 31, 2019

Time Entries

Date           EE                                                 Rate     Hours    Line Total
03/03/2019     DBG                                             $450.00       0.6     $270.00




03/04/2019     SS                                              $600.00       2.7    $1,620.00




03/04/2019     PK                                              $450.00       0.4     $180.00



03/04/2019     RWS                                             $750.00       2.3    $1,725.00




03/04/2019     NF                                              $325.00       2.5     $812.50


03/04/2019     EK                                              $275.00       1.5     $412.50




03/05/2019     SS                                              $600.00       2.4    $1,440.00




03/05/2019     KC                                              $275.00       1.3     $357.50
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03/05/2019     RWS                                              $750.00      3.5     $2,625.00



03/05/2019     EK                                               $275.00      2.3      $632.50




03/05/2019     SS                                               $600.00      2.6     $1,560.00




03/05/2019     NF                                               $325.00      2.6      $845.00


03/06/2019     DBG                                              $450.00      0.5      $225.00

03/06/2019     KC                                               $275.00      0.7      $192.50


03/06/2019     RWS                                              $750.00      1.0      $750.00



03/06/2019     NF                                               $325.00      1.6      $520.00




03/07/2019     SS                                               $600.00      1.2      $720.00




03/07/2019     SS                                               $600.00      4.2     $2,520.00




03/07/2019     NF                                               $325.00      1.2      $390.00


03/08/2019     DBG                                              $450.00      1.0      $450.00


03/08/2019     KC                                               $275.00      1.0      $275.00


03/11/2019     DBG                                              $450.00      1.2      $540.00



03/11/2019     SS                                               $600.00      1.9     $1,140.00
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03/11/2019     RWS                                              $750.00      2.3     $1,725.00




03/11/2019     NF                                               $325.00      2.5      $812.50




03/12/2019     SS                                               $600.00      2.7     $1,620.00




03/12/2019     PK                                               $450.00      3.5     $1,575.00



03/12/2019     RWS                                              $750.00      2.4     $1,800.00


03/12/2019     EK                                               $275.00      1.6      $440.00


03/12/2019     NF                                               $325.00      2.1      $682.50


03/13/2019     DBG                                              $450.00      0.7      $315.00

03/13/2019     EK                                               $275.00      3.0      $825.00




03/13/2019     SS                                               $600.00      2.1     $1,260.00




03/13/2019     PK                                               $450.00      1.2      $540.00


03/13/2019     RWS                                              $750.00      1.5     $1,125.00



03/13/2019     NF                                               $325.00      1.0      $325.00



03/14/2019     SS                                               $600.00      2.2     $1,320.00



03/14/2019     DBG                                              $450.00      1.4      $630.00


03/14/2019     PK                                               $450.00      4.3     $1,935.00


03/14/2019     KC                                               $275.00      3.6      $990.00


03/14/2019     RWS                                              $750.00      2.0     $1,500.00
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03/14/2019     NF                                               $325.00      1.5      $487.50




03/15/2019     RWS                                              $750.00      4.7     $3,525.00




03/15/2019     SS                                               $600.00      2.5     $1,500.00




03/15/2019     NF                                               $325.00      2.5      $812.50




03/17/2019     SS                                               $600.00      4.3     $2,580.00




03/18/2019     SS                                               $600.00      1.9     $1,140.00




03/18/2019     RWS                                              $750.00      2.3     $1,725.00



03/18/2019     EK                                               $275.00      0.8      $220.00


03/18/2019     NF                                               $325.00      2.0      $650.00




03/19/2019     SS                                               $600.00      3.7     $2,220.00




03/19/2019     RWS                                              $750.00      6.3     $4,725.00




03/19/2019     NF                                               $325.00      1.0      $325.00
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03/20/2019     SS                                               $600.00      1.4      $840.00

                                        m

03/20/2019     NF                                      ds       $325.00      0.5      $162.50




03/21/2019     SS                                               $600.00      2.7     $1,620.00




03/21/2019     DBG                                              $450.00      2.0      $900.00


03/21/2019     PK                                               $450.00      3.5     $1,575.00


03/21/2019     NF                                               $325.00      0.8      $260.00


03/22/2019     KC                                               $275.00      2.6      $715.00


03/22/2019     DBG                                              $450.00      1.2      $540.00




03/25/2019     RWS                                              $750.00      2.4     $1,800.00




03/25/2019     KC                                               $275.00      1.6      $440.00


03/25/2019     NF                                               $325.00      1.0      $325.00


03/26/2019     KC                                               $275.00      2.0      $550.00




03/26/2019     SS                                               $600.00      1.6      $960.00



03/26/2019     NF                                               $325.00      1.6      $520.00




03/26/2019     RWS                                              $750.00      1.8     $1,350.00




03/27/2019     DBG                                              $450.00      2.5     $1,125.00


03/27/2019     PK                                               $450.00      0.8      $360.00
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03/28/2019     DBG                                              $450.00                 6.9       $3,105.00



03/28/2019     PK                                               $450.00                 1.5         $675.00


03/28/2019     SS                                               $600.00                 2.3       $1,380.00


03/28/2019     NF                                               $325.00                 2.2         $715.00


03/29/2019     DBG                                              $450.00                 3.0       $1,350.00


03/29/2019     NF                                               $325.00                 0.8         $260.00



03/31/2019     RWS                                              $750.00                 1.3         $975.00


                                                                 Totals:              161.8      $82,035.00
Expenses

Date          EE                                                           Cost       Quantity    Line Total


03/14/2019    KC                                                      $82.22               2.0      $164.44



03/14/2019    KC                                                      $21.55               1.0       $21.55




03/20/2019    SS                                                  $2,416.10                1.0    $2,416.10




03/22/2019    KC                                                    $164.10                1.0      $164.10


                                                                              Expense Total:      $2,766.19


                                                                   Time Entry Sub-Total:         $82,035.00
                                                                     Expense Sub-Total:           $2,766.19
                                                                                  Sub-Total:     $84,801.19


                                                                                      Total:     $84,801.19
                                                                            Amount Paid:              $0.00

                                                                             Balance Due:        $84,801.19
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Trustify                         Balance         $97,877.50
Receivers Office                                              Invoice #       20190165
Link Motion, Inc.                                             Invoice Date    May 8, 2019
                                                              Payment Terms   Due on Receipt
                                                              Due Date        May 08, 2019




LKM Receivership

For services rendered between
April 01, 2019 and May 08, 2019

Time Entries

Date           EE                                                  Rate    Hours     Line Total



04/01/2019     RWS                                              $750.00       3.7    $2,775.00




04/01/2019     SS                                               $600.00       4.1    $2,460.00




04/01/2019     DBG                                              $450.00       2.5    $1,125.00



04/01/2019     NF                                               $325.00       1.0     $325.00
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04/02/2019     SS                                               $600.00      4.8     $2,880.00




04/02/2019     RWS                                              $750.00      1.2      $900.00



04/02/2019     NF                                               $325.00      2.0      $650.00


04/03/2019     PK                                               $450.00      0.7      $315.00


04/03/2019     RWS                                              $750.00      3.4     $2,550.00




04/03/2019     SS                                               $600.00      2.9     $1,740.00




04/03/2019     NF                                               $325.00      0.5      $162.50



04/04/2019     SS                                               $600.00      1.2      $720.00


04/04/2019     RWS                                              $750.00      2.4     $1,800.00


04/04/2019     NF                                               $325.00      0.6      $195.00


04/05/2019     RWS                                              $750.00      1.4     $1,050.00


04/05/2019     DBG                                              $450.00      0.4      $180.00

04/05/2019     NF                                               $325.00      1.3      $422.50

04/08/2019     DBG                                              $450.00      0.7      $315.00


04/08/2019     RWS                                              $750.00      3.3     $2,475.00



04/08/2019     SS                                               $600.00      1.7     $1,020.00
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04/08/2019     NF                                               $325.00      1.2      $390.00




04/09/2019     RWS                                              $750.00      5.3     $3,975.00




04/09/2019     KC                                               $275.00      1.2      $330.00


04/09/2019     NF                                               $325.00      0.5      $162.50


04/10/2019     KC                                               $275.00      1.5      $412.50



04/10/2019     RWS                                              $750.00      4.1     $3,075.00
                                                    .

04/10/2019     NF                                               $325.00      1.0      $325.00




04/11/2019     SS                                               $600.00      2.4     $1,440.00




04/11/2019     DBG                                              $450.00      1.2      $540.00


04/11/2019     NF                                               $325.00      0.8      $260.00



04/12/2019     NF                                               $325.00      1.5      $487.50



04/12/2019     SS                                               $600.00      1.1      $660.00



04/12/2019     DBG                                              $450.00      2.5     $1,125.00

04/12/2019     RWS                                              $750.00      0.4      $300.00

04/15/2019     DBG                                              $450.00      0.5      $225.00


04/15/2019     RWS                                              $750.00      4.9     $3,675.00



04/15/2019     NF                                               $325.00      0.8      $260.00
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04/16/2019     SS                                               $600.00      1.7     $1,020.00




04/16/2019     RWS                                              $750.00      3.3     $2,475.00




04/16/2019     DBG                                              $450.00      0.5      $225.00


04/16/2019     NF                                               $325.00      0.6      $195.00



04/17/2019     NF                                               $325.00      2.2      $715.00




04/18/2019     RWS                                              $750.00      3.7     $2,775.00




04/18/2019     NF                                               $325.00      0.9      $292.50



04/19/2019     RWS                                              $750.00      1.2      $900.00




04/19/2019     SS                                               $600.00      3.2     $1,920.00




04/19/2019     NF                                               $325.00      0.7      $227.50


04/20/2019     RWS                                              $750.00      1.4     $1,050.00
                                            .


04/21/2019     PK                                               $450.00      0.3      $135.00
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04/22/2019     SS                                               $600.00      3.5     $2,100.00




04/22/2019     RWS                                              $750.00      2.6     $1,950.00




04/22/2019     NF                                               $325.00      1.3      $422.50



04/23/2019     PK                                               $450.00      0.8      $360.00




04/23/2019     RWS                                              $750.00      3.7     $2,775.00




04/23/2019     SS                                               $600.00      3.3     $1,980.00




04/23/2019     RWS                                              $750.00      1.9     $1,425.00




04/23/2019     NF                                               $325.00      2.6      $845.00




04/24/2019     SS                                               $600.00      4.1     $2,460.00
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04/24/2019     RWS                                              $750.00      3.6     $2,700.00




04/24/2019     RWS                                              $750.00      0.3      $225.00



04/24/2019     NF                                               $325.00      0.9      $292.50



04/25/2019     RWS                                              $750.00      3.2     $2,400.00




04/25/2019     SS                                               $600.00      2.4     $1,440.00




04/26/2019     SS                                               $600.00      1.4      $840.00




04/26/2019     RWS                                              $750.00      2.8     $2,100.00




04/29/2019     SS                                               $600.00      2.1     $1,260.00




04/29/2019     RWS                                              $750.00      1.8     $1,350.00
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04/30/2019     SS                                               $600.00      3.0     $1,800.00




04/30/2019     RWS                                              $750.00      0.8      $600.00


04/30/2019     DBG                                              $450.00      0.4      $180.00


04/30/2019     NF                                               $325.00      0.5      $162.50


05/01/2019     RWS                                              $750.00      2.4     $1,800.00
                                                 .




05/01/2019     SS                                               $600.00      2.1     $1,260.00




05/02/2019     NF                                               $325.00      0.7      $227.50




05/02/2019     RWS                                              $750.00      2.6     $1,950.00




05/03/2019     RWS                                              $750.00      2.3     $1,725.00




05/03/2019     NF                                               $325.00      0.8      $260.00




05/06/2019     SS                                               $600.00      1.6      $960.00




05/06/2019     NF                                               $325.00      0.8      $260.00


05/07/2019     DBG                                     .        $450.00      0.6      $270.00
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05/07/2019     SS                                               $600.00                 2.2       $1,320.00




05/07/2019     RWS                                              $750.00                 0.4         $300.00




05/08/2019     NF                                               $325.00                 1.3         $422.50




05/08/2019     PK                                               $450.00                 1.0         $450.00




05/08/2019     SS                                               $600.00                 2.9       $1,740.00




                                                                 Totals:              159.1      $96,245.00
Expenses

Date          EE                                                           Cost       Quantity    Line Total


04/16/2019    SS                                                  $1,632.50                1.0    $1,632.50


                                                                              Expense Total:      $1,632.50


                                                                   Time Entry Sub-Total:         $96,245.00
                                                                     Expense Sub-Total:           $1,632.50
                                                                                  Sub-Total:     $97,877.50


                                                                                      Total:     $97,877.50
                                                                            Amount Paid:              $0.00

                                                                             Balance Due:        $97,877.50
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Trustify                         Balance         $96,467.50
Receivers Office                                              Invoice #       20190614
Link Motion, Inc.                                             Invoice Date    June 25, 2019
                                                              Payment Terms   Due on Receipt
                                                              Due Date        June 25, 2019




LKM Receivership

For services rendered between
May 09, 2019 and June 21, 2019

Time Entries

Date           EE                                                  Rate    Hours     Line Total


05/09/2019     SS                                               $600.00       0.6     $360.00



05/09/2019     DBG                                              $450.00       0.8     $360.00




05/09/2019     NF                                               $325.00       1.1     $357.50


05/09/2019     RWS                                              $750.00       0.5     $375.00




05/10/2019     SS                                               $600.00       1.7    $1,020.00




05/12/2019     SS                                               $600.00       1.4     $840.00
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05/13/2019     SS                                               $600.00      2.7     $1,620.00




05/13/2019     NF                                               $325.00      1.6      $520.00




05/14/2019     SS                                               $600.00      0.6      $360.00




05/14/2019     NF                                               $325.00      1.2      $390.00


05/14/2019     RWS                                              $750.00      0.6      $450.00



05/15/2019     SS                                               $600.00      1.9     $1,140.00




05/15/2019     NF                                               $325.00      1.6      $520.00




05/15/2019     RWS                                              $750.00      0.4      $300.00


05/16/2019     DBG                                              $450.00      1.1      $495.00



05/16/2019     NF                                               $325.00      0.5      $162.50



05/16/2019     SS                                               $600.00      1.4      $840.00



05/17/2019     DBG                                              $450.00      0.4      $180.00




05/17/2019     SS                                               $600.00      0.8      $480.00




05/17/2019     RWS                                              $750.00      2.6     $1,950.00


05/17/2019     RWS                                              $750.00      0.3      $225.00
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05/22/2019     SS                                               $600.00      2.3     $1,380.00




05/23/2019     SS                                               $600.00      2.4     $1,440.00




05/23/2019     NF                                               $325.00      2.0      $650.00




05/24/2019     SS                                               $600.00      2.6     $1,560.00




05/24/2019     RWS                                              $750.00      0.5      $375.00




05/27/2019     SS                                               $600.00      2.2     $1,320.00




05/27/2019     RWS                                              $750.00      0.4      $300.00




05/28/2019     SS                                               $600.00      2.1     $1,260.00




05/29/2019     DBG                                              $450.00      0.4      $180.00



05/30/2019     RWS                                              $750.00      1.3      $975.00


05/30/2019     DBG                                              $450.00      0.3      $135.00




05/30/2019     NF                                               $325.00      0.7      $227.50




05/31/2019     SS                                               $600.00      1.4      $840.00



05/31/2019     NF                                               $325.00      0.4      $130.00
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06/03/2019     RWS                                              $750.00      0.7      $525.00




06/03/2019     SS                                               $600.00      1.2      $720.00




06/03/2019     NF                                               $325.00      0.5      $162.50


06/03/2019     DBG                                              $450.00      0.2       $90.00


06/04/2019     DBG                                              $450.00      0.5      $225.00



06/04/2019     RWS                                              $750.00      0.6      $450.00




06/04/2019     SS                                               $600.00      3.1     $1,860.00




06/05/2019     SS                                               $600.00      2.4     $1,440.00




06/05/2019     PK                                               $450.00      2.7     $1,215.00




06/05/2019     RWS                                              $750.00      3.4     $2,550.00
                                                          .


06/06/2019     RWS                                              $750.00      1.8     $1,350.00




06/06/2019     PK                                               $450.00      1.0      $450.00




06/07/2019     PK                                               $450.00      1.5      $675.00




06/10/2019     PK                                               $450.00      1.2      $540.00
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06/10/2019     SS                                               $600.00      2.2     $1,320.00




06/10/2019     RWS                                              $750.00      0.3      $225.00



06/11/2019     PK                                               $450.00      2.0      $900.00




06/11/2019     SS                                               $600.00      3.5     $2,100.00




06/12/2019     CV                                               $325.00      0.5      $162.50


06/12/2019     DBG                                              $450.00      1.0      $450.00


06/12/2019     RWS                                              $750.00      1.8     $1,350.00
                                                          .


06/12/2019     NF                                               $325.00      1.4      $455.00




06/13/2019     SS                                               $600.00      6.1     $3,660.00




06/13/2019     RWS                                              $750.00      3.1     $2,325.00



06/13/2019     DBG                                              $450.00      1.0      $450.00
                                     .
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06/13/2019     NF                                               $325.00      2.1      $682.50




06/13/2019     PK                                               $450.00      2.5     $1,125.00




06/14/2019     DBG                                              $450.00      1.0      $450.00




06/14/2019     SS                                               $600.00      4.2     $2,520.00




06/14/2019     DBG                            .                 $450.00      0.5      $225.00


06/14/2019     NF                                               $325.00      0.6      $195.00


06/14/2019     PK                                               $450.00      1.0      $450.00


06/14/2019     RWS                                              $750.00      0.4      $300.00


06/17/2019     DBG                                              $450.00      0.5      $225.00




06/17/2019     SS                                               $600.00      3.2     $1,920.00




06/17/2019     NF                                               $325.00      0.8      $260.00




06/17/2019     PK                                               $450.00      3.8     $1,710.00



06/17/2019     RWS                                              $750.00      0.3      $225.00


06/18/2019     SS                                               $600.00      1.2      $720.00



06/18/2019     NF                                               $325.00      0.8      $260.00


06/18/2019     RWS                                              $750.00      1.1      $825.00


06/18/2019     PK                                               $450.00      1.8      $810.00
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06/19/2019     RWS                                              $750.00      2.8     $2,100.00




06/19/2019     NF                                               $325.00      2.8      $910.00




06/19/2019     DBG                                              $450.00      0.7      $315.00


06/19/2019     PK                                               $450.00      1.5      $675.00


06/19/2019     NF                                               $325.00      0.4      $130.00




06/19/2019     SS                                               $600.00      2.4     $1,440.00




06/20/2019     JF                                               $325.00      3.0      $975.00



06/20/2019     NF                                               $325.00      2.1      $682.50


06/20/2019     DBG                                              $450.00      0.6      $270.00



06/20/2019     RWS                                              $750.00      2.3     $1,725.00




06/20/2019     SS                                               $600.00      2.9     $1,740.00




06/20/2019     PK                                               $450.00      2.0      $900.00



06/21/2019     DBG                                              $450.00      0.7      $315.00
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06/21/2019         SS                                           $600.00                 3.2       $1,920.00




                                                                 Totals:              139.7      $76,367.50
Expenses

Date          EE                                                           Cost       Quantity    Line Total


05/24/2019    SS                                                  $7,400.00                1.0    $7,400.00




05/29/2019    SS                                                  $6,200.00                1.0    $6,200.00




06/17/2019    JF                                                  $3,000.00                1.0    $3,000.00




06/21/2019    JF                                                  $3,500.00                1.0    $3,500.00




                                                                              Expense Total:     $20,100.00


                                                                   Time Entry Sub-Total:         $76,367.50
                                                                     Expense Sub-Total:          $20,100.00
                                                                                  Sub-Total:     $96,467.50


                                                                                      Total:     $96,467.50
                                                                            Amount Paid:              $0.00

                                                                             Balance Due:        $96,467.50
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Trustify                         Balance         $101,459.00
Receivers Office                                              Invoice #       20190626
Link Motion, Inc.                                             Invoice Date    July 30, 2019
                                                              Payment Terms   Due on Receipt
                                                              Due Date        July 30, 2019




LKM Receivership

For services rendered between
June 22, 2019 and July 30, 2019

Time Entries

Date           EE                                                  Rate    Hours     Line Total



06/22/2019     RWS                                              $750.00       1.8    $1,350.00




06/22/2019     MC                                               $275.00       6.5    $1,787.50




06/23/2019     SS                                               $600.00       2.9    $1,740.00




06/24/2019     NF                                               $275.00       2.8     $770.00




06/24/2019     RWS                                              $750.00       3.7    $2,775.00




06/24/2019     NF                                               $275.00       1.4     $385.00
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06/24/2019     SS                                               $600.00      2.3     $1,380.00




06/24/2019     PK                                               $450.00      0.8      $360.00



06/24/2019     MC                                               $275.00      6.8     $1,870.00



06/25/2019     DBG                                              $360.00      0.4      $144.00



06/25/2019     NF                                               $275.00      0.8      $220.00




06/25/2019     RWS                                              $750.00      1.2      $900.00




06/25/2019     DBG                                              $360.00      1.5      $540.00




06/26/2019     NF                                               $275.00      1.7      $467.50




06/26/2019     DBG                                              $360.00      1.6      $576.00




06/27/2019     DBG                                              $360.00      1.7      $612.00




06/27/2019     NF                                               $275.00      3.2      $880.00
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06/27/2019     SS                                               $600.00      4.7     $2,820.00




06/27/2019     RWS                                              $750.00      0.9      $675.00




06/28/2019     DBG                                              $360.00      2.2      $792.00




06/28/2019     NF                                               $275.00      1.2      $330.00




07/01/2019     NF                                               $275.00      1.3      $357.50




07/02/2019     RWS                                              $750.00      0.5      $375.00




07/02/2019     SS                                               $600.00      2.4     $1,440.00




07/02/2019     PK                                               $450.00      0.4      $180.00



07/02/2019     RWS                                              $750.00      1.2      $900.00




07/03/2019     SS                                               $600.00      3.3     $1,980.00




07/08/2019     DBG                                              $450.00      0.3      $135.00
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07/08/2019     SS                                               $600.00      3.9     $2,340.00




07/09/2019     DBG                                              $450.00      1.2      $540.00




07/09/2019     NF                                               $275.00      1.1      $302.50




07/09/2019     SS                                               $600.00      2.8     $1,680.00




07/10/2019     DBG                                              $450.00      4.2     $1,890.00




07/10/2019     SS                                               $600.00      4.8     $2,880.00




07/10/2019     MC                                               $275.00      7.3     $2,007.50



07/10/2019     NF                                               $275.00      2.2      $605.00


07/10/2019     RWS                                              $750.00      0.9      $675.00



07/11/2019     DBG                                              $450.00      2.6     $1,170.00
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07/11/2019     SS                                               $600.00      3.3     $1,980.00




07/11/2019     MC                                               $275.00      5.2     $1,430.00


07/11/2019     NF                                               $325.00      0.3       $97.50


07/11/2019     RWS                                              $750.00      0.8      $600.00


07/12/2019     DBG                                              $450.00      0.8      $360.00



07/12/2019     MC                                               $275.00      7.1     $1,952.50




07/12/2019     NF                                               $325.00      2.8      $910.00




07/15/2019     RWS                                              $750.00      3.5     $2,625.00




07/15/2019     MC                                               $275.00      7.4     $2,035.00



07/15/2019     DBG                                              $450.00      0.8      $360.00




07/15/2019     SS                                               $600.00      4.2     $2,520.00




07/15/2019     NF                                               $325.00      1.4      $455.00



07/15/2019     PK                                               $450.00      1.8      $810.00




07/15/2019     RWS                                              $750.00      1.6     $1,200.00
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07/16/2019     SS                                               $600.00      3.8     $2,280.00




07/16/2019     RWS                                              $750.00      3.2     $2,400.00




07/16/2019     PK                                               $450.00      1.3      $585.00




07/17/2019     DBG                                              $450.00      2.8     $1,260.00




07/17/2019     MC                                               $275.00      5.4     $1,485.00



07/17/2019     NF                                               $325.00      2.6      $845.00




07/18/2019     SS                                               $600.00      5.8     $3,480.00




07/18/2019     DBG                                              $450.00      3.3     $1,485.00




07/18/2019     NF                                               $325.00      2.1      $682.50




07/18/2019     RWS                                              $750.00      1.2      $900.00


07/19/2019     DBG                                              $450.00      0.3      $135.00
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07/19/2019     SS                                               $600.00      4.9     $2,940.00




07/19/2019     MC                                               $275.00      7.3     $2,007.50



07/21/2019     DBG                                              $450.00      0.3      $135.00




07/22/2019     RWS                                              $750.00      2.6     $1,950.00




07/22/2019     MC                                               $275.00      7.4     $2,035.00




07/22/2019     SS                                               $600.00      4.4     $2,640.00




07/23/2019     NF                                               $325.00      1.1      $357.50




07/23/2019     PK                                               $450.00      1.5      $675.00




07/24/2019     NF                                               $325.00      0.6      $195.00




07/24/2019     SS                                               $600.00      6.7     $4,020.00




07/24/2019     MC                                               $275.00      6.7     $1,842.50
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07/24/2019     RWS                                              $750.00             2.2      $1,650.00



07/25/2019     DBG                                              $450.00             0.3        $135.00


07/25/2019     MC                                               $275.00             6.8      $1,870.00


07/26/2019     PK                                               $450.00             0.2         $90.00


07/29/2019     RWS                                              $750.00             0.9        $675.00



07/29/2019     MC                                               $275.00             7.3      $2,007.50



07/30/2019     JF                                               $325.00             0.4        $130.00




07/30/2019     RWS                                              $750.00             3.2      $2,400.00




                                                                 Totals:          228.1    $101,459.00


                                                                  Time Entry Sub-Total:    $101,459.00
                                                                              Sub-Total:   $101,459.00


                                                                                  Total:   $101,459.00
                                                                           Amount Paid:          $0.00

                                                                           Balance Due:    $101,459.00
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Trustify                        Balance          $168,322.27
Receivers Office                                             Invoice #        20190647
Link Motion, Inc.                                            Invoice Date     October 7, 2019
                                                             Payment Terms    Due on Receipt
                                                             Due Date         October 07, 2019




LKM Receivership

For services rendered between
July 31, 2019 and September 22, 2019

Time Entries

Date           EE                                                  Rate      Hours    Line Total


07/31/2019     PK                                               $450.00        2.2     $990.00




07/31/2019     NF                                               $325.00        2.6     $845.00




07/31/2019     SS                                               $600.00        2.9    $1,740.00




07/31/2019     MC                                               $275.00        7.6    $2,090.00




07/31/2019     PK                                               $450.00        1.6     $720.00




08/01/2019     SS                                               $600.00        2.3    $1,380.00
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08/01/2019     MC                                               $275.00      8.5     $2,337.50




08/01/2019     PK                                               $450.00      2.2      $990.00



08/02/2019     NF                                               $325.00      1.2      $390.00


08/05/2019     NF                                               $325.00      1.3      $422.50




08/05/2019     SS                                               $600.00      3.2     $1,920.00




08/05/2019     SS                                               $600.00      2.2     $1,320.00




08/05/2019     AK                                               $695.00      3.9     $2,710.50



08/05/2019     RWS                                              $750.00      0.7      $525.00




08/06/2019     SS                                               $600.00      2.4     $1,440.00




08/06/2019     DBG                                              $450.00      1.7      $765.00




08/06/2019     AK                                               $695.00      2.6     $1,807.00



08/06/2019     RWS                                              $750.00      0.5      $375.00


08/07/2019     MC                                               $275.00      6.2     $1,705.00


08/07/2019     AK                                               $695.00      1.6     $1,112.00
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08/08/2019     SS                                               $600.00      3.4     $2,040.00




08/08/2019     NF                                               $325.00      0.8      $260.00



08/08/2019     RWS                                              $750.00      0.9      $675.00




08/09/2019     SS                                               $600.00      1.2      $720.00




08/09/2019     NF                                               $325.00      2.6      $845.00




08/09/2019     AK                                               $695.00      2.4     $1,668.00




08/09/2019     RWS                                              $750.00      0.6      $450.00


08/14/2019     RWS                                              $750.00      1.2      $900.00




08/16/2019     DBG                                              $450.00      1.6      $720.00




08/16/2019     AK                                               $695.00      3.2     $2,224.00




08/18/2019     AK                                               $695.00      4.9     $3,405.50




08/19/2019     SS                                               $600.00      4.3     $2,580.00
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08/19/2019     DBG                                              $450.00      1.2      $540.00




08/19/2019     AK                                               $695.00      4.9     $3,405.50




08/19/2019     RWS                                              $750.00      0.7      $525.00



08/20/2019     AK                                               $695.00      2.7     $1,876.50




08/21/2019     RWS                                              $750.00      1.7     $1,275.00




08/21/2019     NF                                               $325.00      1.6      $520.00




08/21/2019     PK                                               $450.00      1.4      $630.00



08/21/2019     DBG                                              $450.00      0.3      $135.00


08/21/2019     RWS                                              $750.00      0.3      $225.00




08/22/2019     RWS                                              $750.00      2.2     $1,650.00




08/22/2019     NF                                               $325.00      0.8      $260.00




08/22/2019     AK                                               $695.00      3.4     $2,363.00




08/23/2019     NF                                               $325.00      1.2      $390.00



08/23/2019     AK                                               $695.00      4.2     $2,919.00
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08/24/2019     AK                                               $695.00      3.7     $2,571.50




08/25/2019     AK                                               $695.00      5.1     $3,544.50




08/26/2019     NF                                               $325.00      2.4      $780.00




08/27/2019     SS                                               $600.00      2.2     $1,320.00




08/27/2019     AK                                               $695.00      2.4     $1,668.00




08/28/2019     SS                                               $600.00      3.2     $1,920.00




08/28/2019     NF                                               $325.00      0.8      $260.00


08/28/2019     AK                                               $695.00      2.7     $1,876.50



08/28/2019     RWS                                              $750.00      0.8      $600.00




08/29/2019     RWS                                              $750.00      1.3      $975.00




08/29/2019     NF                                               $325.00      1.9      $617.50



08/29/2019     AK                                               $695.00      2.7     $1,876.50


08/30/2019     AK                                               $695.00      1.7     $1,181.50


08/30/2019     AK                                               $695.00      1.8     $1,251.00
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09/03/2019     PK                                               $450.00      2.7     $1,215.00




09/03/2019     RWS                                              $750.00      0.4      $300.00




09/04/2019     SS                                               $600.00      6.8     $4,080.00




09/04/2019     RWS                                              $750.00      0.8      $600.00




09/05/2019     SS                                               $600.00      5.8     $3,480.00




09/05/2019     DBG                                              $450.00      1.5      $675.00




09/05/2019     SS                                               $600.00      4.7     $2,820.00




09/05/2019     NF                                               $325.00      1.5      $487.50


09/05/2019     PK                                               $450.00      2.2      $990.00



09/05/2019     AK                                               $695.00      1.7     $1,181.50



09/05/2019     RWS                                              $750.00      0.6      $450.00




09/06/2019     SS                                               $600.00      3.2     $1,920.00




09/06/2019     RWS                                              $750.00      1.5     $1,125.00
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09/06/2019     DBG                                              $450.00      1.4      $630.00



09/06/2019     NF                                               $325.00      1.6      $520.00


09/06/2019     AK                                               $695.00      0.3      $208.50


09/08/2019     AK                                               $695.00      1.7     $1,181.50




09/09/2019     SS                                               $600.00      1.9     $1,140.00



09/09/2019     PK                                               $450.00      2.8     $1,260.00




09/09/2019     NF                                               $325.00      2.3      $747.50




09/09/2019     RWS                                              $750.00      0.4      $300.00




09/10/2019     DBG                                              $450.00      2.1      $945.00




09/10/2019     RWS                                              $750.00      1.1      $825.00


09/10/2019     NF                                               $325.00      0.8      $260.00




09/11/2019     DBG                                              $450.00      2.3     $1,035.00



09/11/2019     RWS                                              $750.00      0.8      $600.00




09/11/2019     SS                                               $600.00      3.7     $2,220.00




09/11/2019     NF                                               $325.00      1.8      $585.00
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09/11/2019     PK                                               $450.00      2.4     $1,080.00



09/11/2019     AK                                               $695.00      1.1      $764.50



09/12/2019     DBG                                              $450.00      1.3      $585.00



09/12/2019     NF                                               $325.00      0.8      $260.00



09/12/2019     PK                                               $450.00      1.8      $810.00



09/12/2019     DBG                                              $450.00      0.3      $135.00


               AK
09/12/2019                                                      $695.00      1.8     $1,251.00




09/13/2019     SS                                               $600.00      4.7     $2,820.00




09/13/2019     DBG                                              $450.00      1.4      $630.00




09/13/2019     PK                                               $450.00      4.8     $2,160.00




09/13/2019     DBG                                              $450.00      0.8      $360.00



09/13/2019     PK                                               $450.00      5.2     $2,340.00




09/13/2019     AK                                               $695.00      2.4     $1,668.00
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09/13/2019     RWS                                              $750.00      0.5      $375.00


09/15/2019     AK                                               $695.00      0.4      $278.00


09/16/2019     DBG                                              $450.00      0.5      $225.00



09/16/2019     PK                                               $450.00      2.7     $1,215.00


09/16/2019     RWS                                              $750.00      0.6      $450.00




09/17/2019     SS                                               $600.00      3.8     $2,280.00




09/17/2019     DBG                                              $450.00      2.4     $1,080.00




09/17/2019     PK                                               $450.00      4.7     $2,115.00




09/17/2019     NF                                               $325.00      1.8      $585.00




09/17/2019     RWS                                              $750.00      2.4     $1,800.00



09/17/2019     PK                                               $450.00      3.9     $1,755.00


09/17/2019     PK                                               $450.00      0.5      $225.00


09/18/2019     DBG                                              $450.00      0.8      $360.00




09/18/2019     SS                                               $600.00      4.1     $2,460.00
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09/18/2019     NF                                               $325.00             1.2         $390.00




09/18/2019     PK                                               $450.00             3.2        $1,440.00



09/18/2019     PK                                               $450.00             5.9        $2,655.00


09/19/2019     NF                                               $325.00             1.2         $390.00



09/19/2019     PK                                               $450.00             4.2        $1,890.00




09/19/2019     DBG                                              $450.00             2.6        $1,170.00




09/19/2019     SS                                               $600.00             1.3         $780.00




09/19/2019     PK                                               $450.00             4.6        $2,070.00


09/20/2019     NF                                               $325.00             0.8         $260.00




09/20/2019     PK                                               $450.00             4.2        $1,890.00




                                                                 Totals:          289.3      $154,011.00
Expenses

Date          EE                                                           Cost   Quantity     Line Total


08/01/2019    PK                                                  $2,500.00            1.0     $2,500.00




08/30/2019    SS                                                  $1,186.13            1.0     $1,186.13



08/31/2019    AK                                                  $1,527.58            1.0     $1,527.58
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09/16/2019    SS                                                  $3,000.00            1.0     $3,000.00




09/16/2019    SS                                                  $6,097.56            1.0     $6,097.56


                                                                          Expense Total:      $14,311.27


                                                                  Time Entry Sub-Total:      $154,011.00
                                                                    Expense Sub-Total:        $14,311.27
                                                                              Sub-Total:     $168,322.27


                                                                                  Total:     $168,322.27
                                                                        Amount Paid:               $0.00

                                                                         Balance Due:        $168,322.27
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Trustify                     Balance         $196,588.24
Receivers Office                                          Invoice #       20190948
Link Motion, Inc.                                         Invoice Date    November 11, 2019
                                                          Payment Terms   Due Date
                                                          Due Date        November 11, 2019




LKM Receivership

For services rendered between
September 23, 2019 and November 11, 2019

Time Entries

Date           EE                                                  Rate    Hours     Line Total



09/23/2019     PK                                               $450.00      3.9     $1,755.00




09/24/2019     AK                                               $695.00      1.4      $973.00




09/24/2019     SS                                               $600.00      1.6      $960.00




09/24/2019     PK                                               $450.00      3.4     $1,530.00




09/24/2019     RWS                                              $750.00      2.1     $1,575.00




09/25/2019     PK                                               $450.00      7.2     $3,240.00
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09/25/2019     NF                                               $325.00      1.4      $455.00



09/25/2019     AK                                               $695.00      1.7     $1,181.50



09/25/2019     AK                                               $695.00      0.3      $208.50


09/26/2019     RWS                                              $750.00      1.5     $1,125.00



09/26/2019     SS                                               $600.00      1.8     $1,080.00




09/26/2019     PK                                               $450.00      2.2      $990.00




09/27/2019     SS                                               $600.00      2.6     $1,560.00




09/27/2019     PK                                               $450.00      3.2     $1,440.00




09/27/2019     NF                                               $325.00      0.6      $195.00



09/27/2019     RWS                                              $750.00      1.3      $975.00



09/29/2019     AK                                               $695.00      1.5     $1,042.50


09/30/2019     AK                                               $695.00      0.6      $417.00


10/01/2019     RWS                                              $750.00      0.7      $525.00



10/04/2019     DBG                                              $450.00      0.5      $225.00


10/04/2019     AS                                               $450.00      0.4      $180.00


10/04/2019     AS                                               $450.00      0.3      $135.00


10/04/2019     AK                                               $695.00      2.0     $1,390.00


10/04/2019     DBG                                              $450.00      1.6      $720.00
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10/04/2019     RWS                                              $750.00      1.2      $900.00


10/04/2019     NF                                               $325.00      0.2       $65.00




10/04/2019     SS                                               $600.00      3.4     $2,040.00




10/06/2019     AK                                               $695.00      0.5      $347.50


10/07/2019     AK                                               $695.00      0.5      $347.50




10/07/2019     SS                                               $600.00      2.0     $1,200.00




10/08/2019     SS                                               $600.00      3.8     $2,280.00




10/08/2019     RWS                                              $750.00      3.1     $2,325.00


10/08/2019     NF                                               $325.00      0.8      $260.00


10/08/2019     PK                                               $450.00      1.2      $540.00


10/08/2019     AK                                               $695.00      0.4      $278.00


10/09/2019     AS                                               $450.00      0.5      $225.00


10/09/2019     AS                                               $450.00      0.2       $90.00


10/09/2019     NF                                               $325.00      0.6      $195.00


10/09/2019     AS                                               $450.00      0.4      $180.00


10/09/2019     AS                                               $450.00      1.4      $630.00

10/10/2019     AS                                               $450.00      1.1      $495.00
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10/10/2019     AS                                               $450.00      2.1      $945.00


10/10/2019     DBG                                              $450.00      0.5      $225.00


10/10/2019     AS                                               $450.00      0.9      $405.00


10/10/2019     AS                                               $450.00      1.1      $495.00


10/10/2019     NF                                               $325.00      3.8     $1,235.00


10/10/2019     AK                                               $695.00      0.8      $556.00




10/10/2019     SS                                               $600.00      4.1     $2,460.00




10/10/2019     AS                                               $450.00      0.5      $225.00



10/10/2019     NF                                               $325.00      6.8     $2,210.00


10/10/2019     AS                                               $450.00      1.8      $810.00




10/10/2019     RWS                                              $750.00      1.2      $900.00



10/10/2019     RWS                                              $750.00      0.5      $375.00


10/11/2019     AK                                               $695.00      2.6     $1,807.00




10/11/2019     SS                                               $600.00      3.7     $2,220.00




10/11/2019     PK                                               $450.00      0.5      $225.00


10/11/2019     RWS                                              $750.00      1.4     $1,050.00


10/11/2019     NF                                               $325.00      1.6      $520.00


10/12/2019     AS                                               $450.00      1.4      $630.00
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10/12/2019     AK                                               $695.00      3.5     $2,432.50



10/13/2019     AS                                               $450.00      7.2     $3,240.00




10/13/2019     AK                                               $695.00      8.5     $5,907.50



10/13/2019     PK                                               $450.00      2.2      $990.00



10/14/2019     AS                                               $450.00      5.8     $2,610.00



10/14/2019     PK                                               $450.00      2.5     $1,125.00


10/14/2019     RWS                                              $750.00      2.3     $1,725.00



10/14/2019     AS                                               $450.00      1.2      $540.00



10/14/2019     AK                                               $695.00      7.5     $5,212.50



10/14/2019     NF                                               $325.00      2.4      $780.00




10/14/2019     SS                                               $600.00      4.3     $2,580.00




10/15/2019     PK                                               $450.00      5.4     $2,430.00




10/15/2019     SS                                               $600.00      6.7     $4,020.00




10/15/2019     NF                                               $325.00      4.3     $1,397.50
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10/15/2019     AK                                               $695.00      7.5     $5,212.50




10/16/2019     AS                                               $450.00      2.7     $1,215.00



10/16/2019     AS                                               $450.00      3.2     $1,440.00




10/16/2019     SS                                               $600.00      3.8     $2,280.00




10/16/2019     AK                                               $695.00      8.5     $5,907.50




10/16/2019     NF                                               $325.00      1.8      $585.00


10/16/2019     AS                                               $450.00      3.3     $1,485.00



10/16/2019     DBG                                              $450.00      2.7     $1,215.00



10/17/2019     AS                                               $450.00      0.2       $90.00




10/17/2019     AK                                               $695.00     13.5     $9,382.50




10/17/2019     NF                                               $325.00      5.8     $1,885.00



10/17/2019     PK                                               $450.00      1.4      $630.00




10/17/2019     DBG                                              $450.00      2.1      $945.00
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10/17/2019     SS                                               $600.00      7.4     $4,440.00




10/18/2019     AS                                               $450.00     14.3     $6,435.00




10/18/2019     CV                                               $275.00      8.7     $2,392.50




10/18/2019     AK                                               $695.00      7.5     $5,212.50




10/18/2019     NF                                               $325.00      2.2      $715.00


10/20/2019     AK                                               $695.00      1.2      $834.00

10/21/2019     CV                                               $275.00      0.3       $82.50


10/21/2019     AK                                               $695.00      2.6     $1,807.00




10/21/2019     NF                                               $325.00      3.4     $1,105.00



10/21/2019     AS                                               $450.00      0.5      $225.00


10/21/2019     CV                                               $275.00      3.1      $852.50



10/21/2019     PK                                               $450.00      1.5      $675.00



10/21/2019     RWS                                              $750.00      1.3      $975.00


10/22/2019     RWS                                              $750.00      1.0      $750.00



10/22/2019     PK                                               $450.00      1.5      $675.00
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10/22/2019     NF                                               $325.00      2.8      $910.00




10/23/2019     RWS                                              $750.00      2.7     $2,025.00




10/23/2019     PK                                               $450.00      2.5     $1,125.00




10/24/2019     SS                                               $600.00      2.6     $1,560.00



10/24/2019     DBG                                              $450.00      0.1       $45.00




10/24/2019     PK                                               $450.00      3.6     $1,620.00




10/24/2019     AK                                               $695.00      1.0      $695.00


10/24/2019     NF                                               $325.00      1.2      $390.00



10/25/2019     AK                                               $695.00      1.6     $1,112.00




10/25/2019     SS                                               $600.00      3.4     $2,040.00




10/25/2019     NF                                               $325.00      2.2      $715.00




10/25/2019     PK                                               $450.00      2.9     $1,305.00




10/29/2019     AS                                               $450.00      0.4      $180.00


10/29/2019     AK                                               $695.00      0.4      $278.00
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10/29/2019     AS                                               $450.00      3.7     $1,665.00




10/29/2019     PK                                               $450.00      2.8     $1,260.00



10/29/2019     AK                                               $695.00      0.4      $278.00


10/30/2019     AS                                               $450.00      2.6     $1,170.00


10/30/2019     PK                                               $450.00      3.8     $1,710.00


10/30/2019     AK                                               $695.00      0.3      $208.50


10/31/2019     AS                                               $450.00      2.5     $1,125.00



10/31/2019     PK                                               $450.00      2.3     $1,035.00


10/31/2019     AK                                               $695.00      2.0     $1,390.00




10/31/2019     SS                                               $695.00      3.2     $2,224.00



10/31/2019     RWS                                              $750.00      2.2     $1,650.00


11/01/2019     AK                                               $695.00      2.5     $1,737.50




11/01/2019     AS                                               $450.00      1.8      $810.00



11/01/2019     PK                                               $450.00      1.7      $765.00


11/01/2019     NF                                               $325.00      2.3      $747.50




11/01/2019     SS                                               $600.00      3.7     $2,220.00




11/03/2019     AS                                               $450.00      1.4      $630.00


11/03/2019     AK                                               $695.00      0.8      $556.00


11/04/2019     AS                                               $450.00      1.2      $540.00
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11/04/2019     AK                                               $695.00               2.3        $1,598.50




11/04/2019     DBG                                              $450.00               1.8         $810.00



11/04/2019     PK                                               $450.00               2.5        $1,125.00


11/04/2019     NF                                               $325.00               0.8         $260.00


11/04/2019     SS                                               $600.00               1.3         $780.00



11/05/2019     NF                                               $325.00               0.8         $260.00



11/08/2019     NF                                               $325.00               3.5        $1,137.50




11/11/2019     SS                                               $600.00               3.1        $1,860.00




                                                                 Totals:            361.9      $191,559.50
Expenses

Date          EE                                                           Cost     Quantity     Line Total

09/30/2019    SS                                                  $1,287.85              1.0     $1,287.85


09/30/2019    SS                                                    $675.50              1.0      $675.50


10/21/2019    CV                                                      $78.24             1.0       $78.24


10/22/2019    KC                                                    $197.90              1.0      $197.90



10/23/2019    CV                                                    $594.85              1.0      $594.85



10/31/2019    SS                                                  $1,468.50              1.0     $1,468.50



10/31/2019    SS                                                    $725.90              1.0      $725.90


                                                                              Expense Total:     $5,028.74
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                                                     Time Entry Sub-Total:   $191,559.50
                                                       Expense Sub-Total:      $5,028.74
                                                               Sub-Total:    $196,588.24


                                                                    Total:   $196,588.24
                                                           Amount Paid:            $0.00

                                                            Balance Due:     $196,588.24
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Trustify                     Balance         $187,171.66
Receivers Office                                          Invoice #       20190981
Link Motion, Inc.                                         Invoice Date    December 31, 2019
                                                          Payment Terms   Due on Receipt
                                                          Due Date        December 31, 2019




LKM Receivership

For services rendered between
November 12, 2019 and December 31, 2019

Time Entries

Date           EE                                                  Rate    Hours     Line Total

11/12/2019     AK                                               $675.00      0.4      $270.00




11/12/2019     DBG                                              $450.00      4.8     $2,160.00




11/12/2019     NF                                               $325.00      2.7      $877.50




11/12/2019     PK                                               $450.00      2.2      $990.00




11/12/2019     RWS                                              $750.00      2.9     $2,175.00




11/12/2019     SS                                               $600.00      3.2     $1,920.00
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11/13/2019     PK                                               $450.00      3.8     $1,710.00




11/13/2019     NF                                               $325.00      4.2     $1,365.00




11/14/2019     AS                                               $400.00      5.0     $2,000.00




11/14/2019     AK                                               $675.00      3.5     $2,362.50



11/14/2019     RWS                                              $750.00      2.4     $1,800.00



11/14/2019     NF                                               $325.00      4.8     $1,560.00



11/14/2019     PK                                               $450.00      2.9     $1,305.00




11/14/2019     AA                                               $675.00      4.5     $3,037.50




11/15/2019     DBG                                              $450.00      5.2     $2,340.00




11/15/2019     NF                                               $325.00      2.7      $877.50




11/15/2019     SS                                               $600.00      3.8     $2,280.00




11/15/2019     RWS                                              $750.00      2.5     $1,875.00
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11/15/2019     AK                                               $675.00      2.5     $1,687.50




11/18/2019     DBG                                              $450.00      5.9     $2,655.00




11/18/2019     AK                                               $675.00      2.2     $1,485.00




11/18/2019     PK                                               $450.00      7.8     $3,510.00




11/18/2019     SS                                               $600.00      4.2     $2,520.00




11/18/2019     AA                                               $675.00      5.5     $3,712.50




11/19/2019     NF                                               $325.00      0.8      $260.00



11/19/2019     PK                                               $450.00      5.2     $2,340.00



11/19/2019     RWS                                              $750.00      1.7     $1,275.00


11/19/2019     AK                                               $675.00      1.0      $675.00


11/20/2019     NF                                               $325.00      0.8      $260.00


11/20/2019     AK                                               $675.00      1.0      $675.00



11/20/2019     PK                                               $450.00      4.3     $1,935.00
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11/21/2019     AK                                               $675.00      6.8     $4,590.00



11/21/2019     PK                                               $450.00      6.2     $2,790.00




11/22/2019     AK                                               $675.00      4.5     $3,037.50


                                               .

11/22/2019     PK                                               $450.00      0.4      $180.00


11/22/2019     RWS                                              $750.00      1.4     $1,050.00



11/22/2019     AS                                               $400.00      3.6     $1,440.00



11/23/2019     AK                                               $675.00      0.4      $270.00


11/25/2019     AK                                               $675.00      0.7      $472.50



11/25/2019     PK                                               $450.00      3.9     $1,755.00




12/02/2019     AS                                               $400.00      4.7     $1,880.00




12/02/2019     DBG                                              $450.00      0.4      $180.00




12/02/2019     SS                                               $600.00      3.2     $1,920.00




12/02/2019     NF                                               $325.00      2.4      $780.00




12/02/2019     PK                                               $450.00      2.9     $1,305.00




12/03/2019     AS                                               $400.00      2.1      $840.00




12/03/2019     PK                                               $450.00      2.4     $1,080.00
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12/03/2019     SS                                               $600.00      3.2     $1,920.00




12/03/2019     RWS                                              $750.00      1.4     $1,050.00




12/05/2019     SS                                               $600.00      2.7     $1,620.00




12/05/2019     PK                                               $450.00      1.2      $540.00



12/06/2019     PK                                               $450.00      4.7     $2,115.00



12/06/2019     AK                                               $675.00      1.5     $1,012.50


12/08/2019     AK                                               $675.00      1.5     $1,012.50



12/09/2019     AK                                               $675.00      2.0     $1,350.00




12/09/2019     AS                                               $400.00      3.2     $1,280.00



12/09/2019     PK                                               $450.00      2.1      $945.00




12/09/2019     SS                                               $600.00      3.8     $2,280.00




12/09/2019     NF                                               $325.00      1.2      $390.00



12/10/2019     AS                                               $400.00      0.9      $360.00



12/10/2019     PK                                               $450.00      1.4      $630.00
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12/10/2019     NF                                               $325.00      1.8      $585.00




12/10/2019     AK                                               $675.00      0.8      $540.00



12/11/2019     NF                                               $325.00      0.9      $292.50


12/11/2019     PK                                               $450.00      1.4      $630.00



12/11/2019     SS                                               $600.00      0.8      $480.00



12/13/2019     AK                                               $675.00      0.7      $472.50


12/13/2019     NF                                               $325.00      0.5      $162.50


12/13/2019     AS                                               $400.00      0.4      $160.00




12/16/2019     SS                                               $600.00      2.2     $1,320.00




12/16/2019     RWS                                              $750.00      1.4     $1,050.00




12/16/2019     PK                                               $450.00      2.8     $1,260.00




12/16/2019     AS                                               $400.00      0.8      $320.00


12/16/2019     NF                                               $325.00      0.6      $195.00


12/16/2019     AK                                               $675.00      0.4      $270.00



12/17/2019     PK                                               $450.00      2.2      $990.00



12/17/2019     AS                                               $400.00      0.4      $160.00


12/17/2019     AK                                               $675.00      0.3      $202.50
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12/17/2019     RWS                                              $750.00      1.7     $1,275.00



12/18/2019     AK                                               $675.00      0.8      $540.00


12/18/2019     AS                                               $400.00      1.3      $520.00


12/18/2019     NF                                               $325.00      0.6      $195.00


12/19/2019     AS                                               $400.00      0.8      $320.00


12/19/2019     PK                                               $450.00      1.8      $810.00


12/19/2019     AK                                               $675.00      0.3      $202.50




12/19/2019     SS                                               $600.00      2.7     $1,620.00




12/20/2019     SS                                               $600.00      3.8     $2,280.00




12/20/2019     PK                                               $450.00      4.9     $2,205.00




12/20/2019     RWS                                              $750.00      2.7     $2,025.00




12/20/2019     MC                                               $750.00      4.5     $3,375.00




12/23/2019     AS                                               $400.00      3.2     $1,280.00



12/23/2019     NF                                               $325.00      1.3      $422.50


12/23/2019     AK                                               $675.00      1.0      $675.00
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12/23/2019     PK                                               $450.00      4.4     $1,980.00




12/23/2019     RWS                                              $750.00      1.6     $1,200.00




12/23/2019     SS                                               $600.00      2.0     $1,200.00



12/23/2019     AA                                               $675.00      2.5     $1,687.50


12/24/2019     AS                                               $400.00      2.7     $1,080.00




12/24/2019     PK                                               $450.00      5.8     $2,610.00




12/27/2019     PK                                               $450.00      9.4     $4,230.00




12/27/2019     NF                                               $325.00      0.8      $260.00




12/27/2019     SS                                               $600.00      5.2     $3,120.00




12/27/2019     RWS                                              $750.00      2.5     $1,875.00




12/27/2019     MC                                               $750.00      2.5     $1,875.00




12/28/2019     PK                                               $450.00      8.9     $4,005.00
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12/28/2019     SS                                               $600.00      4.3     $2,580.00




12/28/2019     RWS                                              $750.00      2.4     $1,800.00




12/30/2019     AS                                               $400.00      5.6     $2,240.00




12/30/2019     NF                                               $325.00      2.3      $747.50



12/30/2019     EK                                               $250.00      1.9      $475.00




12/30/2019     DBG                                              $450.00      1.2      $540.00




12/30/2019     SS                                               $600.00      2.9     $1,740.00




12/30/2019     PK                                               $450.00      6.5     $2,925.00




12/31/2019     AS                                               $400.00      7.4     $2,960.00




12/31/2019     NF                                               $325.00      2.9      $942.50




12/31/2019     SS                                               $600.00      5.7     $3,420.00




12/31/2019     DBG                                              $450.00      2.8     $1,260.00
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12/31/2019     RWS                                              $750.00                 3.5        $2,625.00


                                                                 Totals:              328.7      $170,182.50
Expenses

Date          EE                                                           Cost       Quantity     Line Total


11/30/2019    SS                                                  $2,485.75                1.0     $2,485.75



12/01/2019    SS                                                  $1,532.00                1.0     $1,532.00



12/27/2019    PK                                                  $5,038.00                1.0     $5,038.00




12/31/2019    SS                                                  $2,534.32                1.0     $2,534.32




12/31/2019    SS                                                  $2,633.14                1.0     $2,633.14




12/31/2019    SS                                                  $2,765.95                1.0     $2,765.95


                                                                              Expense Total:      $16,989.16


                                                                   Time Entry Sub-Total:         $170,182.50
                                                                     Expense Sub-Total:           $16,989.16
                                                                                  Sub-Total:     $187,171.66


                                                                                      Total:     $187,171.66
                                                                            Amount Paid:               $0.00

                                                                             Balance Due:        $187,171.66
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Trustify                       Balance         $133,863.51
Receivers Office                                            Invoice #       20191004
Link Motion, Inc.                                           Invoice Date    January 31, 2020
                                                            Payment Terms   Due on Receipt
                                                            Due Date        January 31, 2020




LKM Receivership

For services rendered between
January 01, 2020 and January 31, 2020

Time Entries

Date           EE                                                  Rate     Hours    Line Total




01/03/2020     AS                                               $450.00       8.5    $3,825.00




01/05/2020     AK                                               $675.00       7.5    $5,062.50



01/06/2020     AS                                               $450.00       4.5    $2,025.00




01/06/2020     AS                                               $450.00       5.3    $2,385.00



01/06/2020     AK                                               $675.00       6.0    $4,050.00




01/07/2020     AS                                               $450.00       6.5    $2,925.00



01/07/2020     AK                                               $675.00       6.5    $4,387.50
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01/08/2020     AS                                               $450.00      4.5     $2,025.00


01/08/2020     AK                                               $675.00      8.5     $5,737.50


01/09/2020     AS                                               $450.00      1.2      $540.00



01/09/2020     NF                                               $325.00      1.6      $520.00


01/09/2020     AK                                               $675.00      7.5     $5,062.50



01/10/2020     AS                                               $450.00      3.5     $1,575.00



01/11/2020     AK                                               $675.00      9.5     $6,412.50


01/12/2020     AK                                               $675.00      8.8     $5,940.00


01/13/2020     AS                                               $450.00      4.2     $1,890.00


01/13/2020     AK                                               $675.00      7.6     $5,130.00


01/13/2020     RWS                                              $750.00      3.5     $2,625.00




01/14/2020     AS                                               $450.00      9.5     $4,275.00




01/14/2020     NF                                               $325.00      1.2      $390.00


01/14/2020     AK                                               $675.00      7.5     $5,062.50


01/14/2020     KC                                               $275.00      0.5      $137.50



01/14/2020     PK                                               $450.00      4.8     $2,160.00



01/15/2020     KC                                               $275.00      1.5      $412.50




01/15/2020     AS                                               $450.00      7.5     $3,375.00
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01/15/2020     AK                                               $675.00      1.4      $945.00




01/16/2020     AS                                               $450.00      0.7      $315.00




01/16/2020     AK                                               $675.00      1.5     $1,012.50



01/17/2020     AS                                               $450.00      0.5      $225.00


01/17/2020     KC                                               $275.00      0.5      $137.50



01/20/2020     AK                                               $675.00      2.7     $1,822.50



01/21/2020     AK                                               $675.00      2.7     $1,822.50



01/22/2020     AK                                               $675.00      4.5     $3,037.50



01/22/2020     AS                                               $450.00      8.2     $3,690.00



01/22/2020     PK                                               $450.00      4.5     $2,025.00




01/22/2020     PK                                               $450.00      6.4     $2,880.00




01/23/2020     AK                                               $675.00      3.2     $2,160.00



01/23/2020     PK                                               $450.00      4.5     $2,025.00




01/24/2020     PK                                               $450.00      7.5     $3,375.00




01/27/2020     AK                                               $675.00      0.9      $607.50


01/27/2020     PK                                               $450.00      4.0     $1,800.00

01/28/2020     AK                                               $675.00      3.2     $2,160.00

01/29/2020     AK                                               $675.00      2.8     $1,890.00
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01/30/2020     AK                                               $675.00             0.8         $540.00



01/30/2020     PK                                               $450.00             6.5        $2,925.00



01/31/2020     AS                                               $450.00             0.7         $315.00


01/31/2020     AS                                               $450.00             1.4         $630.00



01/31/2020     AK                                               $675.00             8.5        $5,737.50




01/31/2020     PK                                               $450.00             9.5        $4,275.00



                                                                 Totals:          224.8      $124,282.50
Expenses

Date          EE                                                           Cost   Quantity     Line Total


01/15/2020    KC                                                      $97.90           1.0       $97.90




01/17/2020    KC                                                    $179.76            1.0      $179.76




01/17/2020    KC                                                    $127.52            1.0      $127.52




01/17/2020    KC                                                      $48.50           1.0       $48.50




01/23/2020    KC                                                      $57.65           1.0       $57.65




01/31/2020    SS                                                  $3,895.00            1.0     $3,895.00




01/31/2020    SS                                                  $1,435.90            1.0     $1,435.90




01/31/2020    SS                                                  $1,873.50            1.0     $1,873.50
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01/31/2020    SS                                                  $1,865.28            1.0     $1,865.28




                                                                          Expense Total:       $9,581.01


                                                                  Time Entry Sub-Total:      $124,282.50
                                                                    Expense Sub-Total:         $9,581.01
                                                                              Sub-Total:     $133,863.51


                                                                                  Total:     $133,863.51
                                                                        Amount Paid:               $0.00

                                                                         Balance Due:        $133,863.51
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Seiden Law Group LLP, Attorneys at Law
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New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Trustify                      Balance         $114,665.36
Receivers Office                                           Invoice #       20191024
Link Motion, Inc.                                          Invoice Date    February 29, 2020
                                                           Payment Terms   Due on Receipt
                                                           Due Date        February 29, 2020




LKM Receivership

For services rendered between
February 01, 2020 and February 29, 2020

Time Entries

Date           EE                                                  Rate    Hours     Line Total


02/01/2020     AS                                               $450.00      3.5     $1,575.00



02/01/2020     AK                                               $675.00      7.5     $5,062.50



02/02/2020     PK                                               $450.00      6.5     $2,925.00


02/02/2020     AK                                               $675.00      4.8     $3,240.00



02/03/2020     AS                                               $450.00      8.0     $3,600.00




02/03/2020     PK                                               $450.00      6.5     $2,925.00




02/03/2020     AK                                               $675.00      8.5     $5,737.50




02/04/2020     AS                                               $450.00      5.5     $2,475.00
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02/04/2020     PK                                               $450.00      7.5     $3,375.00




02/04/2020     AK                                               $675.00      9.5     $6,412.50




02/04/2020     SS                                               $600.00      8.5     $5,100.00




02/04/2020     RWS                                              $750.00      2.5     $1,875.00



02/05/2020     PK                                               $450.00      1.5      $675.00



02/05/2020     AS                                               $450.00      1.2      $540.00


02/10/2020     DBG                                              $450.00      2.5     $1,125.00



02/10/2020     AK                                               $675.00      1.5     $1,012.50


02/10/2020     AS                                               $450.00      0.2       $90.00



02/10/2020     SS                                               $600.00      3.5     $2,100.00



02/11/2020     AS                                               $450.00      0.8      $360.00


02/11/2020     DBG                                              $450.00      2.5     $1,125.00


02/11/2020     PK                                               $450.00      2.0      $900.00


02/11/2020     AK                                               $675.00      1.8     $1,215.00


02/11/2020     NF                                               $325.00      1.5      $487.50



02/12/2020     AS                                               $450.00      2.2      $990.00



02/12/2020     AK                                               $675.00      0.6      $405.00


02/12/2020     PK                                               $450.00      0.7      $315.00
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02/12/2020     NF                                               $325.00      0.5      $162.50



02/12/2020     DBG                                              $450.00      3.0     $1,350.00


02/13/2020     DBG                                              $450.00      0.5      $225.00

02/13/2020     PK                                               $450.00      1.1      $495.00


02/13/2020     AS                                               $450.00      1.5      $675.00



02/14/2020     DBG                                              $450.00      2.0      $900.00


02/14/2020     AK                                               $675.00      3.5     $2,362.50


02/14/2020     AS                                               $450.00      1.5      $675.00


02/15/2020     AK                                               $675.00      5.5     $3,712.50


02/16/2020     AK                                               $675.00      6.5     $4,387.50


02/17/2020     AS                                               $450.00      4.5     $2,025.00


02/17/2020     AK                                               $675.00      1.2      $810.00


02/17/2020     PK                                               $450.00      1.5      $675.00




02/18/2020     DBG                                              $450.00      5.5     $2,475.00




02/18/2020     AK                                               $675.00      3.7     $2,497.50




02/18/2020     SS                                               $600.00      6.2     $3,720.00




02/18/2020     PK                                               $450.00      1.8      $810.00



02/18/2020     AS                                               $450.00      3.5     $1,575.00
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02/19/2020     AS                                               $450.00      0.5       $225.00




02/20/2020     SS                                               $600.00      4.5      $2,700.00




02/20/2020     AK                                               $675.00      3.7      $2,497.50




02/20/2020     NF                                               $325.00      2.8       $910.00




02/20/2020     PK                                               $450.00      3.8      $1,710.00




02/20/2020     PK                                               $450.00      2.0       $900.00


02/20/2020     AS                                               $450.00      0.3       $135.00


02/21/2020     AK                                               $675.00      0.4       $270.00


02/21/2020     RWS                                              $750.00      2.0      $1,500.00




02/21/2020     AS                                               $450.00      2.6      $1,170.00




02/21/2020     NF                                               $325.00      2.9       $942.50



02/24/2020     AS                                               $450.00      0.5       $225.00



02/25/2020     AS                                               $450.00      1.0       $450.00



02/25/2020     DBG                                              $450.00      1.5       $675.00


02/26/2020     AS                                               $450.00      0.3       $135.00


02/27/2020     AS                                               $450.00      0.5       $225.00

                                                                 Totals:   184.1     $99,845.00
Expenses
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Date          EE                                                      Cost        Quantity     Line Total


02/28/2020    SS                                                  $8,471.21            1.0     $8,471.21



02/29/2020    SS                                                  $2,788.50            1.0     $2,788.50




02/29/2020    SS                                                   $890.95             1.0       $890.95




02/29/2020    SS                                                  $1,095.75            1.0     $1,095.75




                   Kindly see
02/29/2020    SS                                                  $1,573.95            1.0     $1,573.95



                                                                          Expense Total:      $14,820.36


                                                                  Time Entry Sub-Total:       $99,845.00
                                                                    Expense Sub-Total:        $14,820.36
                                                                              Sub-Total:     $114,665.36


                                                                                  Total:     $114,665.36
                                                                        Amount Paid:               $0.00

                                                                         Balance Due:        $114,665.36
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
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New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Trustify                         Balance         $69,175.89
Receivers Office                                              Invoice #       20191062
Link Motion, Inc.                                             Invoice Date    March 31, 2020
                                                              Payment Terms   Due on Receipt
                                                              Due Date        March 31, 2020




LKM Receivership

For services rendered between
March 01, 2020 and March 31, 2020

Time Entries

Date           EE                                                  Rate    Hours     Line Total


03/02/2020     DBG                                              $450.00       2.1     $945.00




03/04/2020     PK                                               $450.00       2.8    $1,260.00



03/09/2020     DBG                                              $450.00       0.5     $225.00


03/09/2020     RWS                                              $750.00       3.1    $2,325.00




03/11/2020     AS                                               $450.00       6.4    $2,880.00




03/11/2020     NF                                               $325.00       1.2     $390.00




03/11/2020     SS                                               $600.00       5.2    $3,120.00
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03/12/2020     SS                                               $600.00      4.5     $2,700.00




03/12/2020     AK                                               $675.00      3.8     $2,565.00




03/12/2020     AS                                               $450.00      2.7     $1,215.00




03/12/2020     PK                                               $450.00      5.9     $2,655.00




03/13/2020     NF                                               $325.00      1.2      $390.00



03/13/2020     AS                                               $450.00      1.4      $630.00




03/13/2020     PK                                               $450.00      2.6     $1,170.00




03/15/2020     PK                                               $450.00      2.2      $990.00



03/15/2020     AK                                               $675.00      1.3      $877.50


03/16/2020     AS                                               $450.00      2.5     $1,125.00



03/16/2020     AK                                               $675.00      4.2     $2,835.00



03/16/2020     PK                                               $450.00      1.6      $720.00


03/16/2020     SS                                               $600.00      1.4      $840.00


03/17/2020     AS                                               $450.00      0.3      $135.00


03/17/2020     AK                                               $675.00      1.8     $1,215.00



03/17/2020     AS                                               $450.00      0.4      $180.00


03/18/2020     RWS                                              $750.00      1.2      $900.00
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03/19/2020     AS                                               $450.00      2.2      $990.00



03/19/2020     AK                                               $675.00      0.5      $337.50


03/19/2020     RWS                                              $750.00      1.6     $1,200.00




03/19/2020     PK                                               $450.00      2.2      $990.00




03/19/2020     SS                                               $600.00      1.8     $1,080.00




03/20/2020     PK                                               $450.00      4.5     $2,025.00




03/20/2020     AS                                               $450.00      0.2       $90.00


03/23/2020     AS                                               $450.00      0.3      $135.00


03/24/2020     RWS                                              $750.00      1.8     $1,350.00



03/24/2020     AS                                               $450.00      0.7      $315.00




03/24/2020     PK                                               $450.00      4.2     $1,890.00




03/25/2020     SS                                               $600.00      3.4     $2,040.00
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03/25/2020     NF                                               $325.00      2.9      $942.50




03/25/2020     PK                                               $450.00      3.8     $1,710.00




03/25/2020     SS                                               $600.00      3.5     $2,100.00




03/26/2020     CV                                               $275.00      0.7      $192.50


03/26/2020     AK                                               $675.00      0.5      $337.50


03/26/2020     NF                                               $325.00      1.5      $487.50




03/26/2020     SS                                               $600.00      2.2     $1,320.00




03/26/2020     PK                                               $450.00      1.5      $675.00




03/26/2020     PK                                               $450.00      3.5     $1,575.00




03/26/2020     AS                                               $450.00      2.7     $1,215.00




03/26/2020     SS                                               $600.00      3.1     $1,860.00




03/27/2020     AS                                               $450.00      1.2      $540.00



03/27/2020     NF                                               $325.00      1.3      $422.50
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03/27/2020     PK                                               $450.00               2.6       $1,170.00



03/30/2020     PK                                               $450.00               2.1        $945.00


03/30/2020     NF                                               $325.00               0.6        $195.00


03/30/2020     AS                                               $450.00               0.2         $90.00



03/31/2020     SS                                               $600.00               2.5       $1,500.00




03/31/2020     AS                                               $450.00               2.8       $1,260.00




03/31/2020     NF                                               $325.00               2.8        $910.00




03/31/2020     PK                                               $450.00               3.2       $1,440.00




03/31/2020     SS                                               $600.00               1.6        $960.00



                                                                 Totals:            130.5      $66,577.50
Expenses

Date          EE                                                           Cost     Quantity    Line Total



03/31/2020    CV                                                    $544.38              1.0     $544.38




03/31/2020    CV                                                    $544.38              1.0     $544.38




03/31/2020    CV                                                    $965.25              1.0     $965.25




03/31/2020    CV                                                    $544.38              1.0     $544.38




                                                                              Expense Total:    $2,598.39
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                                                     Time Entry Sub-Total:   $66,577.50
                                                       Expense Sub-Total:     $2,598.39
                                                               Sub-Total:    $69,175.89


                                                                    Total:   $69,175.89
                                                           Amount Paid:           $0.00

                                                            Balance Due:     $69,175.89
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
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United States
212-523-0686



Court Appointed Receiver for Trustify                         Balance         $65,311.09
Receivers Office                                              Invoice #       20191063
Link Motion, Inc.                                             Invoice Date    April 30, 2020
                                                              Payment Terms   Due on Receipt
                                                              Due Date        April 30, 2020




LKM Receivership

For services rendered between
April 01, 2020 and April 30, 2020

Time Entries

Date           EE                                                  Rate    Hours     Line Total


04/01/2020     AS                                               $450.00       0.3     $135.00


04/01/2020     NF                                               $325.00       0.2      $65.00




04/01/2020     PK                                               $450.00       2.8    $1,260.00




04/01/2020     SS                                               $600.00       3.2    $1,920.00



04/01/2020     CV                                               $275.00       0.4     $110.00


04/02/2020     AS                                               $450.00       1.4     $630.00




04/02/2020     NF                                               $325.00       2.8     $910.00




04/02/2020     RWS                                              $750.00       1.7    $1,275.00
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04/02/2020     CV                                               $275.00      1.3      $357.50


04/02/2020     PK                                               $450.00      0.7      $315.00




04/02/2020     PK                                               $450.00      7.8     $3,510.00




04/03/2020     SS                                               $600.00      6.5     $3,900.00




04/03/2020     DBG                                              $450.00      1.2      $540.00


04/03/2020     AK                                               $675.00      0.7      $472.50




04/03/2020     NF                                               $325.00      2.6      $845.00




04/03/2020     PK                                               $450.00      2.4     $1,080.00




04/03/2020     PK                                               $450.00      0.8      $360.00


04/06/2020     NF                                               $325.00      0.7      $227.50


04/08/2020     PK                                               $450.00      3.9     $1,755.00



04/08/2020     AS                                               $450.00      1.7      $765.00



04/09/2020     NF                                               $325.00      0.8      $260.00




04/09/2020     PK                                               $450.00      2.6     $1,170.00
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04/10/2020     AS                                               $450.00      1.0      $450.00



04/10/2020     PK                                               $450.00      2.4     $1,080.00



04/12/2020     PK                                               $450.00      0.5      $225.00


04/12/2020     AS                                               $450.00      1.1      $495.00



04/13/2020     PK                                               $450.00      2.4     $1,080.00



04/13/2020     NF                                               $325.00      1.0      $325.00




04/14/2020     SS                                               $600.00      2.8     $1,680.00




04/14/2020     PK                                               $450.00      4.9     $2,205.00




04/15/2020     NF                                               $325.00      2.8      $910.00



04/15/2020     AS                                               $450.00      2.3     $1,035.00



04/15/2020     PK                                               $450.00      2.4     $1,080.00



04/16/2020     AS                                               $450.00      1.2      $540.00



04/16/2020     NF                                               $325.00      1.6      $520.00




04/17/2020     AS                                               $450.00      0.9      $405.00


04/17/2020     DBG                                              $450.00      0.4      $180.00


04/17/2020     NF                                               $325.00      0.7      $227.50



04/17/2020     PK                                               $450.00      2.5     $1,125.00
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04/19/2020     PK                                               $450.00      5.5     $2,475.00


04/19/2020     AK                                               $675.00      1.0      $675.00


04/20/2020     NF                                               $325.00      1.1      $357.50



04/20/2020     SS                                               $600.00      1.7     $1,020.00



04/20/2020     PK                                               $450.00      1.7      $765.00


04/22/2020     RWS                                              $750.00      1.4     $1,050.00




04/22/2020     SS                                               $600.00      1.5      $900.00




04/22/2020     NF                                               $325.00      1.2      $390.00


04/23/2020     AS                                               $450.00      0.5      $225.00


04/24/2020     NF                                               $325.00      1.1      $357.50


04/26/2020     AK                                               $675.00      2.2     $1,485.00


04/27/2020     AK                                               $675.00      6.3     $4,252.50


04/28/2020     AK                                               $675.00      2.9     $1,957.50




04/28/2020     NF                                               $325.00      3.9     $1,267.50




04/28/2020     PK                                               $450.00      3.3     $1,485.00




04/29/2020     NF                                               $325.00      5.2     $1,690.00
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04/29/2020     PK                                               $450.00                 7.5       $3,375.00




04/30/2020     PK                                               $450.00                 5.5       $2,475.00




04/30/2020     NF                                               $325.00                 4.2       $1,365.00




                                                                 Totals:              135.1      $62,992.50
Expenses

Date          EE                                                           Cost       Quantity    Line Total


04/30/2020    CV                                                    $685.45                1.0      $685.45




04/30/2020    SS                                                    $544.38                1.0      $544.38




04/30/2020    SS                                                    $544.38                1.0      $544.38




04/30/2020    SS                                                    $544.38                1.0      $544.38



                                                                              Expense Total:      $2,318.59


                                                                   Time Entry Sub-Total:         $62,992.50
                                                                     Expense Sub-Total:           $2,318.59
                                                                                  Sub-Total:     $65,311.09


                                                                                      Total:     $65,311.09
                                                                            Amount Paid:              $0.00

                                                                             Balance Due:        $65,311.09
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Trustify                         Balance         $173,168.14
Receivers Office                                              Invoice #       20191072
Link Motion, Inc.                                             Invoice Date    May 31, 2020
                                                              Payment Terms   Due on Receipt
                                                              Due Date        May 31, 2020




LKM Receivership

For services rendered between
May 01, 2020 and May 31, 2020

Time Entries

Date           EE                                                  Rate    Hours     Line Total

05/01/2020     CV                                               $275.00       0.8     $220.00




05/01/2020     NF                                               $325.00       1.8     $585.00




05/01/2020     PK                                               $450.00       3.8    $1,710.00




05/01/2020     PK                                               $450.00       1.9     $855.00




05/02/2020     PK                                               $450.00       3.5    $1,575.00



05/02/2020     NF                                               $325.00       0.7     $227.50


05/03/2020     AS                                               $450.00       4.8    $2,160.00


05/04/2020     CV                                               $275.00       0.6     $165.00


05/04/2020     AS                                               $450.00       6.7    $3,015.00

05/04/2020     AK                                               $675.00       1.8    $1,215.00
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05/04/2020     NF                                               $325.00      0.8      $260.00




05/04/2020     PK                                               $450.00      4.5     $2,025.00




05/05/2020     AK                                               $675.00      3.6     $2,430.00


05/05/2020     AS                                               $450.00      1.7      $765.00

05/05/2020     PK                                               $450.00      2.3     $1,035.00


05/05/2020     NF                                               $325.00      1.2      $390.00




05/05/2020     SS                                               $600.00      0.8      $480.00




05/06/2020     AS                                               $450.00      5.3     $2,385.00




05/06/2020     PK                                               $450.00      7.1     $3,195.00




05/06/2020     NF                                               $325.00      2.1      $682.50



05/07/2020     AS                                               $450.00      2.4     $1,080.00


05/07/2020     PK                                               $450.00      4.5     $2,025.00


05/07/2020     NF                                               $325.00      1.8      $585.00


05/08/2020     AK                                               $675.00      4.8     $3,240.00




05/08/2020     NF                                               $325.00      3.3     $1,072.50




05/08/2020     AS                                               $450.00      5.8     $2,610.00


05/08/2020     PK                                               $450.00      1.0      $450.00

05/10/2020     AS                                               $450.00      5.4     $2,430.00
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05/11/2020     AK                                               $675.00      5.2     $3,510.00




05/11/2020     SS                                               $600.00      1.2      $720.00




05/11/2020     AS                                               $450.00      7.0     $3,150.00




05/11/2020     NF                                               $325.00      1.4      $455.00

05/11/2020     DBG                                              $450.00      1.6      $720.00


05/11/2020     RWS                                              $750.00      1.7     $1,275.00



05/12/2020     AS                                               $450.00      2.6     $1,170.00



05/12/2020     NF                                               $325.00      1.6      $520.00




05/12/2020     PK                                               $450.00      4.5     $2,025.00




05/13/2020     AS                                               $450.00      1.4      $630.00


05/13/2020     AK                                               $675.00      4.8     $3,240.00



05/13/2020     NF                                               $325.00      3.1     $1,007.50




05/13/2020     PK                                               $450.00      2.9     $1,305.00




05/14/2020     AS                                               $450.00      6.8     $3,060.00




05/14/2020     NF                                               $325.00      2.3      $747.50




05/14/2020     AK                                               $675.00      5.8     $3,915.00
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05/14/2020     PK                                               $450.00      5.5     $2,475.00




05/15/2020     AS                                               $450.00      1.5      $675.00


05/15/2020     NF                                               $325.00      1.6      $520.00




05/15/2020     PK                                               $450.00      2.8     $1,260.00




05/16/2020     AK                                               $675.00      4.7     $3,172.50

05/17/2020     AS                                               $450.00      2.2      $990.00


05/17/2020     AK                                               $675.00      5.8     $3,915.00


05/17/2020     NF                                               $325.00      1.3      $422.50


05/18/2020     AK                                               $675.00      4.9     $3,307.50



05/18/2020     AS                                               $450.00      2.2      $990.00




05/18/2020     NF                                               $325.00      3.5     $1,137.50




05/18/2020     PK                                               $450.00      1.4      $630.00




05/19/2020     AS                                               $450.00      5.4     $2,430.00



05/19/2020     NF                                               $325.00      2.1      $682.50



05/20/2020     AS                                               $450.00      5.3     $2,385.00



05/20/2020     NF                                               $325.00      1.3      $422.50


05/21/2020     AK                                               $675.00      4.7     $3,172.50



05/21/2020     AS                                               $450.00      6.8     $3,060.00
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05/21/2020     NF                                               $325.00      3.4     $1,105.00




05/21/2020     PK                                               $450.00      4.7     $2,115.00




05/22/2020     AS                                               $450.00      6.6     $2,970.00



05/22/2020     NF                                               $325.00      2.7      $877.50



05/23/2020     AS                                               $450.00      5.7     $2,565.00




05/24/2020     AS                                               $450.00      3.7     $1,665.00



05/24/2020     NF                                               $325.00      2.1      $682.50


05/24/2020     AK                                               $675.00      4.8     $3,240.00


05/25/2020     NF                                               $325.00      1.7      $552.50



05/25/2020     AS                                               $450.00      6.2     $2,790.00



05/25/2020     PK                                               $450.00      1.5      $675.00


05/26/2020     AK                                               $675.00      6.5     $4,387.50


05/26/2020     AS                                               $450.00      5.0     $2,250.00




05/26/2020     NF                                               $325.00      3.7     $1,202.50




05/26/2020     PK                                               $450.00      3.3     $1,485.00


05/27/2020     AK                                               $675.00     12.5     $8,437.50

05/27/2020     DBG                                              $450.00      4.5     $2,025.00



05/27/2020     AS                                               $450.00      9.3     $4,185.00
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05/27/2020     NF                                               $325.00                 1.6          $520.00



05/28/2020     DBG                                              $450.00                 4.0        $1,800.00



05/28/2020     AS                                               $450.00                15.3        $6,885.00



05/28/2020     AK                                               $675.00                13.2        $8,910.00


05/28/2020     NF                                               $325.00                 3.1        $1,007.50



05/28/2020     CV                                               $275.00                 5.0        $1,375.00


05/29/2020     AK                                               $675.00                 3.5        $2,362.50

                                                                 Totals:              335.3      $164,035.00
Expenses

Date          EE                                                           Cost       Quantity     Line Total


05/28/2020    SS                                                  $7,500.00                1.0     $7,500.00




05/31/2020    SS                                                    $544.38                1.0       $544.38




05/31/2020    SS                                                    $544.38                1.0       $544.38




05/31/2020    SS                                                    $544.38                1.0       $544.38




                                                                              Expense Total:       $9,133.14


                                                                   Time Entry Sub-Total:         $164,035.00
                                                                     Expense Sub-Total:            $9,133.14
                                                                                  Sub-Total:     $173,168.14


                                                                                      Total:     $173,168.14
                                                                            Amount Paid:               $0.00

                                                                             Balance Due:        $173,168.14
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Trustify                         Balance         $76,790.02
Receivers Office                                              Invoice #       20191090
Link Motion, Inc.                                             Invoice Date    June 30, 2020
                                                              Payment Terms   Due on Receipt
                                                              Due Date        June 30, 2020




LKM Receivership

For services rendered between
June 01, 2020 and June 30, 2020

Time Entries

Date           EE                                                  Rate    Hours     Line Total
06/01/2020     AS                                               $450.00       0.2      $90.00

06/01/2020     PK                                               $450.00       0.2      $90.00


06/02/2020     AS                                               $450.00       1.0     $450.00



06/02/2020     PK                                               $450.00       3.0    $1,350.00



06/03/2020     AS                                               $450.00       0.3     $135.00


06/03/2020     PK                                               $450.00       2.0     $900.00

06/04/2020     DBG                                              $450.00       0.2      $90.00

06/04/2020     AS                                               $450.00       0.6     $270.00


06/04/2020     NF                                               $325.00       3.9    $1,267.50



06/04/2020     AK                                               $675.00       0.5     $337.50



06/05/2020     AK                                               $675.00       1.0     $675.00
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06/05/2020     AS                                               $450.00      6.1     $2,745.00



06/05/2020     PK                                               $450.00      1.0      $450.00



06/05/2020     NF                                               $325.00      4.6     $1,495.00




06/07/2020     AS                                               $450.00      2.7     $1,215.00




06/08/2020     AS                                               $450.00      4.8     $2,160.00




06/08/2020     AK                                               $675.00      1.0      $675.00



06/08/2020     NF                                               $325.00      2.8      $910.00




06/09/2020     AK                                               $675.00      2.5     $1,687.50




06/09/2020     AS                                               $400.00      6.0     $2,400.00




06/09/2020     NF                                               $325.00      4.3     $1,397.50




06/10/2020     AK                                               $675.00      0.8      $540.00




06/10/2020     AS                                               $450.00      6.2     $2,790.00




06/10/2020     NF                                               $325.00      2.4      $780.00
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06/11/2020      AS                                              $450.00       3.6     $1,620.00




06/11/2020      AK                                              $675.00       2.4     $1,620.00




06/12/2020      AS                                              $450.00       1.1      $495.00




06/12/2020      AK                                              $675.00       0.8      $540.00


06/12/2020      NF                                              $325.00       1.6      $520.00


06/12/2020      RWS                                             $750.00       1.7     $1,275.00



06/15/2020      AS                                              $450.00       0.3      $135.00



06/15/2020      AS                                              $450.00       0.3      $135.00


06/15/2020      AK                                              $675.00       0.4      $270.00


06/15/2020      NF                                              $325.00       1.3      $422.50




06/16/2020      AS                                              $450.00       0.9      $405.00




06/16/2020      NF                                              $325.00       1.7      $552.50



06/17/2020      AK                                              $675.00       2.8     $1,890.00




06/17/2020      AS                                              $450.00       6.0     $2,700.00




06/17/2020      NF                                              $325.00       0.8      $260.00
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06/17/2020      SS                                              $600.00       3.3     $1,980.00




06/18/2020      SS                                              $600.00       2.2     $1,320.00


06/18/2020      AK                                              $675.00       1.0      $675.00




06/18/2020      AS                                              $450.00       1.1      $495.00




06/18/2020      NF                                              $325.00       2.8      $910.00


06/19/2020      NF                                              $325.00       2.6      $845.00


06/19/2020      AS                                              $450.00       1.1      $495.00




06/22/2020      SS                                              $600.00       2.7     $1,620.00




06/22/2020      AK                                              $675.00       1.6     $1,080.00




06/22/2020      AS                                              $450.00       1.5      $675.00




06/22/2020      NF                                              $325.00       2.7      $877.50


06/23/2020      AK                                              $675.00       0.3      $202.50


06/23/2020      AS                                              $450.00       1.0      $450.00



06/23/2020      NF                                              $325.00       1.2      $390.00




06/24/2020      AK                                              $675.00       2.0     $1,350.00
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06/24/2020      AS                                              $450.00       2.8      $1,260.00




06/24/2020      NF                                              $325.00       0.7       $227.50




06/25/2020      AS                                              $450.00       4.3      $1,935.00




06/26/2020      AK                                              $675.00       1.5      $1,012.50




06/26/2020      AS                                              $450.00       2.7      $1,215.00



06/26/2020      NF                                              $325.00       1.3       $422.50


06/26/2020      CV                                              $275.00       1.4       $385.00


06/28/2020      AS                                              $450.00       1.2       $540.00



06/29/2020      AK                                              $675.00       2.5      $1,687.50




06/29/2020      AS                                              $450.00       5.6      $2,520.00




06/29/2020      NF                                              $325.00       1.7       $552.50

06/29/2020      CV                                              $275.00       1.8       $495.00


06/30/2020      AK                                              $675.00       1.5      $1,012.50




06/30/2020      AS                                              $450.00       4.3      $1,935.00



06/30/2020      NF                                              $325.00       1.2       $390.00

                                                                 Totals:    145.4     $66,695.00
Expenses
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Date          EE                                                      Cost        Quantity    Line Total


06/05/2020    CV                                                   $135.83             1.0      $135.83



06/05/2020    CV                                                   $147.70             1.0      $147.70



06/06/2020    CV                                                   $157.72             1.0      $157.72


06/14/2020    SS                                                  $2,106.00            1.0    $2,106.00


06/14/2020    SS                                                  $5,914.63            1.0    $5,914.63




06/26/2020    CV                                                   $544.38             1.0      $544.38




06/26/2020    CV                                                   $544.38             1.0      $544.38




06/30/2020    SS                                                   $544.38             1.0      $544.38



                                                                          Expense Total:     $10,095.02


                                                                  Time Entry Sub-Total:      $66,695.00
                                                                    Expense Sub-Total:       $10,095.02
                                                                              Sub-Total:     $76,790.02


                                                                                  Total:     $76,790.02
                                                                        Amount Paid:              $0.00

                                                                         Balance Due:        $76,790.02
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Trustify                         Balance         $148,246.63
Receivers Office                                              Invoice #       20201055
Link Motion, Inc.                                             Invoice Date    July 31, 2020
                                                              Payment Terms   Due on Receipt
                                                              Due Date        July 31, 2020




LKM Receivership

For services rendered between
July 01, 2020 and July 31, 2020

Time Entries

Date            EE                                                 Rate     Hours     Line Total



07/01/2020      AS                                              $450.00       2.0      $900.00




07/01/2020      AK                                              $675.00       3.0     $2,025.00



07/01/2020      NF                                              $325.00       1.0      $325.00




07/01/2020      SS                                              $600.00       2.2     $1,320.00




07/01/2020      RWS                                             $750.00       1.1      $825.00



07/02/2020      AK                                              $675.00       3.0     $2,025.00



07/02/2020      AS                                              $450.00       1.9      $855.00
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07/02/2020      NF                                              $325.00       4.1     $1,332.50




07/02/2020      SS                                              $600.00       1.5      $900.00




07/02/2020      RWS                                             $750.00       1.4     $1,050.00




07/03/2020      AS                                              $450.00       2.4     $1,080.00




07/03/2020      AK                                              $675.00       4.5     $3,037.50


07/04/2020      AK                                              $675.00       3.0     $2,025.00



07/06/2020      AK                                              $675.00       2.5     $1,687.50




07/06/2020      AS                                              $450.00       4.7     $2,115.00




07/06/2020      NF                                              $325.00       3.2     $1,040.00




07/07/2020      AK                                              $675.00       2.0     $1,350.00




07/07/2020      AS                                              $450.00       5.6     $2,520.00




07/07/2020      NF                                              $325.00       1.3      $422.50




07/07/2020      SS                                              $600.00       0.9      $540.00
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07/08/2020      AS                                              $450.00       1.8      $810.00




07/08/2020      NF                                              $325.00       0.8      $260.00




07/09/2020      AS                                              $450.00       5.1     $2,295.00




07/09/2020      NF                                              $325.00       1.4      $455.00



07/09/2020      AK                                              $675.00       2.5     $1,687.50



07/10/2020      RWS                                             $750.00       1.0      $750.00




07/10/2020      AS                                              $450.00       4.6     $2,070.00




07/10/2020      NF                                              $325.00       1.6      $520.00




07/10/2020      SS                                              $600.00       1.4      $840.00




07/12/2020      AS                                              $450.00       1.6      $720.00




07/13/2020      AK                                              $675.00       3.5     $2,362.50
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07/13/2020      AS                                              $450.00       7.9     $3,555.00




07/13/2020      NF                                              $325.00       0.6      $195.00


07/13/2020      CV                                              $275.00       1.0      $275.00




07/13/2020      SS                                              $600.00       4.7     $2,820.00




07/13/2020      RWS                                             $750.00       0.8      $600.00



07/14/2020      AK                                              $675.00       1.0      $675.00




07/14/2020      AS                                              $450.00       5.0     $2,250.00




07/14/2020      NF                                              $325.00       3.1     $1,007.50




07/15/2020      AK                                              $675.00       5.5     $3,712.50




07/15/2020      AS                                              $450.00       6.8     $3,060.00
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07/15/2020      NF                                              $325.00       3.7     $1,202.50




07/16/2020      CV                                              $275.00       0.3       $82.50

07/16/2020      AK                                              $675.00       5.5     $3,712.50




07/16/2020      AS                                              $450.00       7.4     $3,330.00




07/16/2020      NF                                              $325.00       1.2      $390.00


07/17/2020      KC                                              $275.00       0.7      $192.50


07/17/2020      AK                                              $675.00       6.5     $4,387.50




07/17/2020      AS                                              $450.00       6.9     $3,105.00




07/17/2020      NF                                              $325.00       2.7      $877.50




07/17/2020      SS                                              $600.00       1.4      $840.00


07/18/2020      AK                                              $675.00       7.5     $5,062.50


07/19/2020      AK                                              $675.00       7.0     $4,725.00



07/19/2020      AS                                              $450.00      13.5     $6,075.00




07/20/2020      JF                                              $325.00       0.2       $65.00



07/20/2020      AK                                              $675.00      10.5     $7,087.50




07/20/2020      NF                                              $325.00       5.4     $1,755.00



07/20/2020      CV                                              $250.00       3.0      $750.00
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07/20/2020      AS                                              $450.00      11.0     $4,950.00



07/20/2020      SS                                              $600.00       5.5     $3,300.00




07/21/2020      AK                                              $675.00      11.5     $7,762.50



07/21/2020      CV                                              $275.00       5.0     $1,375.00


07/21/2020      NF                                              $325.00       7.3     $2,372.50




07/21/2020      AS                                              $450.00      10.0     $4,500.00


07/21/2020      DBG                                             $450.00       0.2       $90.00



07/21/2020      SS                                              $600.00       5.0     $3,000.00



07/22/2020      CV                                              $275.00       3.1      $852.50


07/22/2020      AS                                              $450.00       5.1     $2,295.00


07/22/2020      AK                                              $675.00       5.0     $3,375.00



07/22/2020      NF                                              $325.00       4.6     $1,495.00




07/22/2020      SS                                              $600.00       4.5     $2,700.00




07/22/2020      RWS                                             $750.00       1.5     $1,125.00


07/23/2020      AS                                              $450.00       0.7      $315.00




07/23/2020      NF                                              $325.00       3.8     $1,235.00




07/23/2020      SS                                              $600.00       1.2      $720.00
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07/24/2020         AS                                           $450.00                 0.4          $180.00


07/24/2020         NF                                           $325.00                 1.3          $422.50


07/27/2020         NF                                           $325.00                 1.8          $585.00



07/28/2020         NF                                           $325.00                 1.0          $325.00


07/29/2020         NF                                           $325.00                 0.7          $227.50


07/31/2020         NF                                           $325.00                 0.8          $260.00



07/31/2020         SS                                           $600.00                 0.5          $300.00


                                                                 Totals:              287.9      $145,697.50
Expenses

Date          EE                                                           Cost       Quantity     Line Total


07/14/2020    CV                                                    $134.34                1.0       $134.34



07/17/2020    KC                                                      $31.65               1.0        $31.65



07/20/2020    JF                                                    $750.00                1.0       $750.00




07/31/2020    CV                                                    $544.38                1.0       $544.38




07/31/2020    CV                                                    $544.38                1.0       $544.38




07/31/2020    SS                                                    $544.38                1.0       $544.38



                                                                              Expense Total:       $2,549.13


                                                                   Time Entry Sub-Total:         $145,697.50
                                                                     Expense Sub-Total:            $2,549.13
                                                                                  Sub-Total:     $148,246.63


                                                                                      Total:     $148,246.63
                                                                            Amount Paid:               $0.00

                                                                             Balance Due:        $148,246.63
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Trustify                        Balance          $73,104.95
Receivers Office                                             Invoice #        20201079
Link Motion, Inc.                                            Invoice Date     August 31, 2020
                                                             Payment Terms    Due on Receipt
                                                             Due Date         August 31, 2020




LKM Receivership

For services rendered between
August 01, 2020 and August 31, 2020

Time Entries

Date            EE                                                 Rate      Hours    Line Total


08/03/2020      AS                                              $450.00        1.8     $810.00




08/05/2020      AS                                              $450.00        3.5    $1,575.00



08/06/2020      AK                                              $675.00        0.7     $472.50




08/06/2020      AS                                              $450.00        3.0    $1,350.00




08/06/2020      SS                                              $600.00        1.8    $1,080.00



08/07/2020      AK                                              $675.00        0.8     $540.00




08/07/2020      AS                                              $450.00        2.3    $1,035.00
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08/07/2020      NF                                              $325.00       0.5      $162.50



08/07/2020      SS                                              $600.00       1.4      $840.00




08/09/2020      AS                                              $450.00       2.2      $990.00




08/10/2020      NF                                              $325.00       1.2      $390.00




08/10/2020      AS                                              $450.00       6.2     $2,790.00




08/10/2020      AK                                              $675.00       2.2     $1,485.00




08/11/2020      SS                                              $600.00       4.8     $2,880.00




08/11/2020      AK                                              $675.00       2.5     $1,687.50




08/11/2020      AS                                              $450.00       5.1     $2,295.00




08/11/2020      NF                                              $325.00       1.4      $455.00




08/11/2020      SS                                              $600.00       2.3     $1,380.00
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08/12/2020      AS                                              $450.00       0.8      $360.00



08/12/2020      AK                                              $675.00       3.2     $2,160.00



08/12/2020      NF                                              $325.00       1.2      $390.00



08/13/2020      AK                                              $675.00       2.8     $1,890.00


08/13/2020      AS                                              $450.00       0.6      $270.00


08/13/2020      NF                                              $325.00       1.1      $357.50


08/14/2020      NF                                              $325.00       1.6      $520.00


08/14/2020      AS                                              $450.00       0.9      $405.00


08/17/2020      NF                                              $325.00       0.6      $195.00


08/18/2020      NF                                              $325.00       2.4      $780.00



08/18/2020      AS                                              $450.00       1.0      $450.00


08/19/2020      AS                                              $450.00       1.0      $450.00



08/19/2020      CV                                              $250.00       2.5      $625.00



08/19/2020      NF                                              $325.00       0.6      $195.00


08/20/2020      AS                                              $450.00       5.9     $2,655.00


08/20/2020      AK                                              $675.00       3.5     $2,362.50



08/21/2020      AS                                              $450.00       5.3     $2,385.00



08/21/2020      AK                                              $675.00       3.4     $2,295.00


08/23/2020      AS                                              $450.00       2.5     $1,125.00



08/24/2020      AS                                              $450.00       6.7     $3,015.00



08/24/2020      AK                                              $675.00       2.1     $1,417.50
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08/24/2020      NF                                              $325.00               1.2        $390.00


08/25/2020      AK                                              $675.00               1.0        $675.00


08/25/2020      RWS                                             $750.00               1.4       $1,050.00


08/25/2020      AS                                              $450.00               6.0       $2,700.00




08/25/2020      SS                                              $600.00               2.7       $1,620.00




08/25/2020      SS                                              $600.00               1.7       $1,020.00


08/26/2020      AS                                              $450.00               5.1       $2,295.00


08/27/2020      AK                                              $675.00               1.0        $675.00


08/27/2020      CV                                              $250.00               2.8        $700.00


08/27/2020      AS                                              $450.00               5.6       $2,520.00



08/28/2020      AK                                              $675.00               1.0        $675.00




08/28/2020      AS                                              $450.00               6.5       $2,925.00


08/29/2020      AS                                              $450.00               2.7       $1,215.00

08/29/2020      AK                                              $675.00               2.5       $1,687.50

08/30/2020      AS                                              $450.00               4.9       $2,205.00


08/31/2020      AK                                              $675.00               2.2       $1,485.00


08/31/2020      AS                                              $450.00               5.2       $2,340.00


08/31/2020      NF                                              $325.00               1.2        $390.00

                                                                 Totals:            148.1      $73,087.50
Expenses

Date          EE                                                           Cost     Quantity    Line Total


08/26/2020    CV                                                      $17.45             1.0      $17.45


                                                                              Expense Total:      $17.45
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                                                     Time Entry Sub-Total:   $73,087.50
                                                       Expense Sub-Total:       $17.45
                                                               Sub-Total:    $73,104.95


                                                                    Total:   $73,104.95
                                                           Amount Paid:           $0.00

                                                            Balance Due:     $73,104.95
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Trustify                     Balance         $78,482.50
Receivers Office                                          Invoice #       20201080
Link Motion, Inc.                                         Invoice Date    September 30, 2020
                                                          Payment Terms   Due on Receipt
                                                          Due Date        September 30, 2020




LKM Receivership

For services rendered between
September 01, 2020 and September 30, 2020

Time Entries

Date            EE                                                 Rate     Hours     Line Total

09/01/2020      AK                                              $675.00       3.0     $2,025.00


09/01/2020      AS                                              $450.00       6.0     $2,700.00



09/02/2020      AS                                              $450.00       7.9     $3,555.00



09/02/2020      AK                                              $675.00       3.0     $2,025.00


09/03/2020      AS                                              $450.00       5.6     $2,520.00


09/03/2020      NF                                              $325.00       1.0      $325.00


09/03/2020      AK                                              $675.00       2.0     $1,350.00



09/04/2020      AS                                              $450.00       7.0     $3,150.00



09/04/2020      AK                                              $675.00       3.0     $2,025.00


09/05/2020      AS                                              $450.00       2.6     $1,170.00


09/06/2020      AS                                              $450.00       3.7     $1,665.00
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09/07/2020      AK                                              $675.00       3.0     $2,025.00



09/07/2020      AS                                              $450.00       9.1     $4,095.00



09/08/2020      AS                                              $450.00       8.1     $3,645.00


09/08/2020      AK                                              $675.00       4.5     $3,037.50


09/09/2020      AK                                              $675.00       0.8      $540.00


09/09/2020      CV                                              $250.00       1.8      $450.00




09/09/2020      AS                                              $450.00      10.3     $4,635.00




09/09/2020      AK                                              $675.00       6.5     $4,387.50




09/09/2020      NF                                              $325.00       4.1     $1,332.50




09/10/2020      AS                                              $340.00      12.5     $4,250.00


09/10/2020      AK                                              $675.00       8.5     $5,737.50

09/10/2020      NF                                              $325.00       0.4      $130.00


09/11/2020      AK                                              $675.00      10.5     $7,087.50



09/11/2020      AS                                              $450.00      11.0     $4,950.00


09/11/2020      NF                                              $325.00       0.8      $260.00




09/14/2020      AS                                              $450.00       4.6     $2,070.00




09/14/2020      NF                                              $325.00       0.7      $227.50

09/15/2020      AK                                              $675.00       1.0      $675.00


09/15/2020      AS                                              $450.00       5.2     $2,340.00
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09/15/2020      NF                                              $325.00             1.3       $422.50



09/15/2020      SS                                              $600.00             1.9     $1,140.00



09/16/2020      NF                                              $325.00             0.8       $260.00


09/17/2020      NF                                              $325.00             0.5       $162.50


09/21/2020      NF                                              $325.00             1.2       $390.00



09/22/2020      NF                                              $325.00             1.2       $390.00



09/23/2020      NF                                              $325.00             1.3       $422.50


09/24/2020      NF                                              $325.00             2.0       $650.00


09/25/2020      NF                                              $325.00             0.5       $162.50

09/28/2020      NF                                              $325.00             0.3        $97.50

                                                                 Totals:          159.2    $78,482.50


                                                                   Time Entry Sub-Total:   $78,482.50
                                                                              Sub-Total:   $78,482.50


                                                                                  Total:   $78,482.50
                                                                           Amount Paid:         $0.00

                                                                           Balance Due:    $78,482.50
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                    Balance         $48,212.50
Inc.                                                         Invoice #       20211654
IN HIS CAPACITY AS THE COURT-APPOINTED                       Invoice Date    October 31, 2020
RECEIVER                                                     Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                     Due Date        October 31, 2020
United States


LKM Receivership

For services rendered between
October 01, 2020 and October 31, 2020

Time Entries

Date            EE                                                 Rate      Hours    Line Total

10/01/2020      AS                                              $450.00        3.8    $1,710.00

10/01/2020      NF                                              $325.00        3.8    $1,235.00

10/01/2020      AK                                              $675.00        0.4     $270.00


10/02/2020      AS                                              $450.00        2.1     $945.00


10/02/2020      NF                                              $325.00        2.9     $942.50


10/03/2020      NF                                              $325.00        1.1     $357.50


10/04/2020      NF                                              $325.00        1.9     $617.50


10/05/2020      NF                                              $325.00        3.1    $1,007.50


                AS                                                             2.0
10/05/2020                                                      $450.00                $900.00


10/06/2020      AK                                              $675.00        1.0     $675.00


10/06/2020      AS                                              $450.00        6.1    $2,745.00


10/06/2020      NF                                              $325.00        2.6     $845.00
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10/07/2020      AS                                              $450.00      6.4      $2,880.00



10/07/2020      NF                                              $325.00      2.1       $682.50




10/08/2020      AS                                              $450.00      7.1      $3,195.00



10/08/2020      NF                                              $325.00      1.9       $617.50


10/09/2020      AK                                              $675.00      1.2       $810.00



10/09/2020      AS                                              $450.00      5.9      $2,655.00



10/09/2020      NF                                              $325.00      3.2      $1,040.00


10/13/2020      AS                                              $450.00      0.3       $135.00




10/13/2020      AS                                              $450.00      4.7      $2,115.00




10/13/2020      NF                                              $325.00      2.5       $812.50


10/14/2020      AS                                              $450.00      4.8      $2,160.00

10/14/2020      AK                                              $675.00      2.0      $1,350.00


10/14/2020      DBG                                             $450.00      2.5      $1,125.00


10/14/2020      NF                                              $325.00      4.0      $1,300.00


10/15/2020      AK                                              $675.00      1.5      $1,012.50


10/15/2020      DBG                                             $450.00      2.5      $1,125.00


10/15/2020      AS                                              $450.00      2.1       $945.00


10/15/2020      NF                                              $325.00      2.2       $715.00

10/16/2020      AS                                              $450.00      1.3       $585.00


10/18/2020      AS                                              $450.00      0.2        $90.00

10/19/2020      AS                                              $450.00      1.2       $540.00
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10/19/2020      NF                                              $325.00             1.1       $357.50


10/20/2020      DBG                                             $450.00             1.0       $450.00

10/20/2020      AK                                              $675.00             1.0       $675.00


10/20/2020      AS                                              $450.00             1.9       $855.00


10/20/2020      NF                                              $325.00             1.0       $325.00


10/21/2020      NF                                              $325.00             2.0       $650.00



10/21/2020      AS                                              $450.00             3.1     $1,395.00



10/22/2020      AK                                              $675.00             0.7       $472.50


10/22/2020      NF                                              $325.00             1.7       $552.50


10/22/2020      AS                                              $450.00             0.8       $360.00


10/23/2020      AK                                              $675.00             1.0       $675.00

10/23/2020      AS                                              $450.00             1.3       $585.00


10/26/2020      AK                                              $675.00             1.0       $675.00


10/26/2020      AS                                              $450.00             0.3       $135.00


10/26/2020      NF                                              $325.00             1.1       $357.50



10/26/2020      AK                                              $675.00             1.7     $1,147.50


10/29/2020      AS                                     l        $450.00             0.3       $135.00

10/30/2020      AS                                              $450.00             0.6       $270.00

                                                                 Totals:          112.0    $48,212.50


                                                                   Time Entry Sub-Total:   $48,212.50
                                                                              Sub-Total:   $48,212.50


                                                                                  Total:   $48,212.50
                                                                           Amount Paid:         $0.00

                                                                           Balance Due:    $48,212.50
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                  Balance         $55,490.00
Inc.                                                       Invoice #       20211655
IN HIS CAPACITY AS THE COURT-APPOINTED                     Invoice Date    November 30, 2020
RECEIVER                                                   Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                   Due Date        November 30, 2020
United States


LKM Receivership

For services rendered between
November 01, 2020 and November 30, 2020

Time Entries

Date            EE                                                 Rate     Hours     Line Total

11/01/2020      AS                                              $450.00       0.3      $135.00


11/02/2020      AK                                              $675.00       1.4      $945.00



11/02/2020      AS                                              $450.00       0.6      $270.00



11/02/2020      NF                                              $325.00       1.1      $357.50



11/02/2020      AS                                              $450.00       2.8     $1,260.00



11/04/2020      AS                                              $450.00       0.5      $225.00


11/05/2020      AK                                              $675.00       1.0      $675.00


11/05/2020      AS                                              $450.00       4.4     $1,980.00


11/06/2020      AK                                              $675.00       3.0     $2,025.00



11/06/2020      AS                                              $450.00       8.7     $3,915.00
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11/06/2020      NF                                              $325.00       2.1      $682.50


11/06/2020      AS                                              $450.00       1.5      $675.00

11/06/2020      DBG                                             $450.00       1.0      $450.00

11/08/2020      AK                                              $675.00       5.5     $3,712.50


11/08/2020      AS                                              $450.00      11.6     $5,220.00


11/09/2020      AK                                              $675.00       1.5     $1,012.50


11/09/2020      AS                                              $450.00       1.4      $630.00


11/10/2020      AS                                              $450.00       1.0      $450.00


11/11/2020      AK                                              $675.00       1.4      $945.00



11/11/2020      AS                                              $450.00       2.6     $1,170.00




11/11/2020      NF                                              $325.00       1.3      $422.50



11/11/2020      AS                                              $450.00       1.0      $450.00

11/12/2020      AS                                              $450.00       3.9     $1,755.00




11/12/2020      NF                                              $325.00       3.5     $1,137.50




11/12/2020      AS                                              $450.00       4.0     $1,800.00


11/13/2020      AS                                              $450.00       1.5      $675.00


11/13/2020      AK                                              $675.00       1.0      $675.00


11/13/2020      NF                                              $325.00       1.0      $325.00



11/13/2020      AS                                              $450.00       1.3      $585.00


11/16/2020      AS                                              $450.00       0.6      $270.00

11/17/2020      AS                                              $450.00       3.2     $1,440.00


11/17/2020      AS                                              $450.00       1.3      $585.00

11/17/2020      NF                                              $325.00       1.1      $357.50
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11/18/2020      AK                                              $675.00             5.9     $3,982.50



11/18/2020      AK                                              $675.00             6.8     $4,590.00
                                                         .



11/18/2020      AS                                              $450.00             2.0       $900.00




11/19/2020      AK                                              $675.00             3.5     $2,362.50



11/19/2020      AS                                              $450.00             8.6     $3,870.00



11/19/2020      NF                                              $325.00             2.2       $715.00


11/19/2020      DBG                                             $450.00             0.5       $225.00

11/20/2020      NF                                              $325.00             1.7       $552.50


11/23/2020      AS                                              $450.00             2.4     $1,080.00

                                                                 Totals:          111.7    $55,490.00


                                                                   Time Entry Sub-Total:   $55,490.00
                                                                              Sub-Total:   $55,490.00


                                                                                  Total:   $55,490.00
                                                                           Amount Paid:         $0.00

                                                                           Balance Due:    $55,490.00
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                  Balance         $9,177.50
Inc.                                                       Invoice #       20211642
IN HIS CAPACITY AS THE COURT-APPOINTED                     Invoice Date    December 31, 2020
RECEIVER                                                   Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                   Due Date        December 31, 2020
United States


LKM Receivership

For services rendered between
December 01, 2020 and December 31, 2020

Time Entries

Date            EE                                                 Rate     Hours     Line Total

12/01/2020      AS                                              $450.00       0.1       $45.00


12/02/2020      AK                                              $675.00       1.0      $675.00


12/02/2020      AS                                              $450.00       2.2      $990.00



12/02/2020      NF                                              $325.00       2.9      $942.50



12/03/2020      AK                                              $675.00       1.7     $1,147.50



12/03/2020      AS                                              $450.00       1.7      $765.00


12/03/2020      NF                                              $325.00       1.1      $357.50


12/04/2020      AS                                              $450.00       0.5      $225.00


12/08/2020      AS                                              $450.00       0.9      $405.00

12/15/2020      AS                                              $450.00       0.2       $90.00

12/15/2020      AS                                              $450.00       2.6     $1,170.00


12/17/2020      AS                                              $450.00       1.4      $630.00
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12/18/2020      AS                                              $450.00             2.1      $945.00


12/21/2020      NF                                              $325.00             0.7      $227.50


12/23/2020      AK                                              $675.00             0.5      $337.50

12/23/2020      AS                                              $450.00             0.3      $135.00

12/29/2020      AS                                              $450.00             0.2       $90.00

                                                                 Totals:           20.1    $9,177.50


                                                                   Time Entry Sub-Total:   $9,177.50
                                                                              Sub-Total:   $9,177.50


                                                                                  Total:   $9,177.50
                                                                           Amount Paid:        $0.00

                                                                           Balance Due:    $9,177.50
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                    Balance              $1,130.00
Inc.                                                         Invoice #            20211241
IN HIS CAPACITY AS THE COURT-APPOINTED                       Invoice Date         January 31, 2021
RECEIVER                                                     Payment Terms        Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                     Due Date             January 31, 2021
United States


LKM Receivership

For services rendered between
January 01, 2021 and January 31, 2021

Time Entries

Date            EE                                                 Rate          Hours     Line Total

01/31/2021      AK                                              $675.00             1.0      $675.00


01/31/2021      NF                                              $325.00             1.4      $455.00


                                                                 Totals:            2.4    $1,130.00


                                                                   Time Entry Sub-Total:   $1,130.00
                                                                              Sub-Total:   $1,130.00


                                                                                  Total:   $1,130.00
                                                                           Amount Paid:        $0.00

                                                                           Balance Due:    $1,130.00
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                   Balance         $10,092.50
Inc.                                                        Invoice #       20211649
IN HIS CAPACITY AS THE COURT-APPOINTED                      Invoice Date    February 28, 2021
RECEIVER                                                    Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                    Due Date        February 28, 2021
United States


LKM Receivership

For services rendered between
February 01, 2021 and February 28, 2021

Time Entries

Date            EE                                                 Rate     Hours     Line Total

02/04/2021      RWS                                             $750.00       1.9     $1,425.00
                               .

02/04/2021      NF                                              $325.00       0.8      $260.00




02/08/2021      SS                                              $600.00       0.8      $480.00




02/08/2021      AS                                              $450.00       0.2       $90.00


02/09/2021      AS                                              $450.00       1.2      $540.00


02/10/2021      AS                                              $450.00       0.1       $45.00


02/12/2021      AS                                              $450.00       0.3      $135.00



02/15/2021      AK                                              $675.00       0.8      $540.00


02/15/2021      DBG                                             $450.00       0.8      $360.00


02/16/2021      AK                                              $675.00       1.5     $1,012.50
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02/16/2021      AS                                              $450.00             2.8     $1,260.00


02/17/2021      AS                                              $450.00             0.5       $225.00
                                                          .


02/17/2021      SS                                              $600.00             0.5       $300.00



02/19/2021      SS                                              $600.00             1.4       $840.00



02/21/2021      AK                                              $675.00             1.0       $675.00


02/23/2021      NF                                              $325.00             0.6       $195.00


02/25/2021      AS                                              $450.00             0.1        $45.00


02/26/2021      AS                                              $450.00             1.1       $495.00
                                                     .

02/27/2021      AK                                              $675.00             1.2       $810.00


02/27/2021      SS                                              $600.00             0.6       $360.00


                                                                 Totals:           18.2    $10,092.50


                                                                   Time Entry Sub-Total:   $10,092.50
                                                                              Sub-Total:   $10,092.50


                                                                                  Total:   $10,092.50
                                                                           Amount Paid:         $0.00

                                                                           Balance Due:    $10,092.50
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                     Balance         $5,987.50
Inc.                                                          Invoice #       20211650
IN HIS CAPACITY AS THE COURT-APPOINTED                        Invoice Date    March 31, 2021
RECEIVER                                                      Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                      Due Date        March 31, 2021
United States


LKM Receivership

For services rendered between
March 01, 2021 and March 31, 2021

Time Entries

Date            EE    Description                                  Rate     Hours     Line Total


03/02/2021      SS                                              $600.00       0.8      $480.00



03/02/2021      AS                                              $450.00       1.7      $765.00



03/03/2021      AS                                              $450.00       0.3      $135.00


03/07/2021      AS                                              $450.00       0.3      $135.00


03/08/2021      AK                                              $675.00       0.7      $472.50


03/08/2021      AS                                              $450.00       1.8      $810.00


03/08/2021      NF                                              $325.00       0.7      $227.50



03/09/2021      AS                                              $450.00       0.3      $135.00



03/10/2021      AS                                              $450.00       1.7      $765.00


03/10/2021      NF                                              $325.00       1.7      $552.50
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03/11/2021      AS                                              $450.00             0.4      $180.00




03/11/2021      NF                                              $325.00             0.9      $292.50


03/15/2021      AS                                              $450.00             0.5      $225.00


03/22/2021      NF                                              $325.00             1.3      $422.50


03/23/2021      NF                                              $325.00             1.2      $390.00

                                                                 Totals:           14.3    $5,987.50


                                                                   Time Entry Sub-Total:   $5,987.50
                                                                              Sub-Total:   $5,987.50


                                                                                  Total:   $5,987.50
                                                                           Amount Paid:        $0.00

                                                                           Balance Due:    $5,987.50
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                     Balance         $3,600.00
Inc.                                                          Invoice #       20211651
IN HIS CAPACITY AS THE COURT-APPOINTED                        Invoice Date    April 30, 2021
RECEIVER                                                      Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                      Due Date        April 30, 2021
United States


LKM Receivership

For services rendered between
April 01, 2021 and April 30, 2021

Time Entries

Date            EE                                                 Rate     Hours     Line Total

04/07/2021      AS                                              $450.00       0.2       $90.00


04/19/2021      AS                                              $450.00       0.7      $315.00



04/20/2021      AS                                              $450.00       0.6      $270.00


04/21/2021      AS                                              $450.00       0.5      $225.00


04/23/2021      AS                                              $450.00       0.6      $270.00

04/25/2021      AS                                              $450.00       0.4      $180.00

04/26/2021      AS                                              $450.00       1.5      $675.00


04/27/2021      AS                                              $450.00       0.1       $45.00


04/30/2021      AS                                              $450.00       3.4     $1,530.00


                                                                 Totals:      8.0     $3,600.00
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                                                      Time Entry Sub-Total:   $3,600.00
                                                                Sub-Total:    $3,600.00


                                                                     Total:   $3,600.00
                                                            Amount Paid:          $0.00

                                                             Balance Due:     $3,600.00
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
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United States
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Court Appointed Receiver for Link Motion,                     Balance               $630.00
Inc.                                                          Invoice #             20211652
IN HIS CAPACITY AS THE COURT-APPOINTED                        Invoice Date          May 31, 2021
RECEIVER                                                      Payment Terms         Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                      Due Date              May 31, 2021
United States


LKM Receivership

For services rendered between
May 01, 2021 and May 31, 2021

Time Entries

Date            EE                                                 Rate          Hours     Line Total

05/03/2021      AS                                              $450.00             1.2     $540.00


05/31/2021      AS                                              $450.00             0.2      $90.00

                                                                 Totals:            1.4     $630.00


                                                                   Time Entry Sub-Total:    $630.00
                                                                              Sub-Total:    $630.00


                                                                                  Total:    $630.00
                                                                           Amount Paid:       $0.00

                                                                           Balance Due:     $630.00
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United States
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Court Appointed Receiver for Link Motion,                     Balance         $7,857.50
Inc.                                                          Invoice #       20211653
IN HIS CAPACITY AS THE COURT-APPOINTED                        Invoice Date    June 30, 2021
RECEIVER                                                      Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                      Due Date        June 30, 2021
United States


LKM Receivership

For services rendered between
June 01, 2021 and June 30, 2021

Time Entries

Date            EE                                                 Rate     Hours     Line Total

06/03/2021      NF                                              $325.00       0.8      $260.00


06/07/2021      AK                                              $675.00       1.0      $675.00
                          .


06/08/2021      AK                                              $675.00       2.0     $1,350.00




06/08/2021      SS                                              $600.00       1.2      $720.00




06/08/2021      RWS                                             $750.00       1.3      $975.00


06/08/2021      NF                                              $325.00       0.7      $227.50
                               l



06/09/2021      SS                                              $600.00       0.8      $480.00
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06/14/2021      AS                                              $450.00             0.2       $90.00

06/15/2021      AK                                              $675.00             1.5    $1,012.50



06/22/2021      SS                                              $600.00             0.7      $420.00




06/22/2021      AS                                              $450.00             0.5      $225.00


06/22/2021      AK                                              $675.00             0.5      $337.50


06/22/2021      NF                                              $325.00             0.2       $65.00




06/23/2021      SS                                              $600.00             0.8      $480.00




06/23/2021      AK                                              $675.00             0.8      $540.00


                                                                 Totals:           13.0    $7,857.50


                                                                   Time Entry Sub-Total:   $7,857.50
                                                                              Sub-Total:   $7,857.50


                                                                                  Total:   $7,857.50
                                                                           Amount Paid:        $0.00

                                                                           Balance Due:    $7,857.50
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212-523-0686



Court Appointed Receiver for Link Motion,                     Balance         $44,792.50
Inc.                                                          Invoice #       20211631
IN HIS CAPACITY AS THE COURT-APPOINTED                        Invoice Date    July 31, 2021
RECEIVER                                                      Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                      Due Date        July 31, 2021
United States


LKM Receivership

For services rendered between
July 01, 2021 and July 31, 2021

Time Entries

Date            EE                                                 Rate     Hours     Line Total



07/09/2021      AS                                              $450.00       6.3     $2,835.00




07/09/2021      NF                                              $325.00       1.2      $390.00




07/10/2021      NF                                              $325.00       0.5      $162.50



07/11/2021      AK                                              $675.00       0.8      $540.00
                               .


07/11/2021      AS                                              $450.00       7.7     $3,465.00



07/12/2021      AK                                              $675.00       0.7      $472.50


07/12/2021      AS                                              $450.00       1.5      $675.00


07/13/2021      AS                                              $450.00       5.9     $2,655.00



07/13/2021      AK                                              $675.00       2.0     $1,350.00
                                   .
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07/13/2021      NF                                              $325.00       1.2       $390.00


07/14/2021      AS                                              $450.00       7.8      $3,510.00



07/15/2021      AS                                              $450.00       8.2      $3,690.00


07/15/2021      NF                                              $325.00       1.0       $325.00


07/16/2021      NF                                              $325.00       0.2        $65.00


07/16/2021      AS                                              $450.00       6.9      $3,105.00


07/16/2021      AK                                              $675.00       3.5      $2,362.50
                              .


07/17/2021      AK                                              $675.00       2.5      $1,687.50



07/18/2021      AS                                              $450.00       6.5      $2,925.00


07/19/2021      AK                                              $675.00       3.5      $2,362.50


07/19/2021      CV                                              $275.00       0.9       $247.50



07/19/2021      AS                                              $450.00       9.5      $4,275.00


07/20/2021      AS                                              $450.00       0.8       $360.00


07/28/2021      AK                                              $675.00       3.5      $2,362.50


07/28/2021      CV                                              $275.00       0.2        $55.00


07/28/2021      NF                                              $325.00       0.8       $260.00


07/28/2021      NF                                              $325.00       0.8       $260.00



07/30/2021      AK                                              $675.00       1.2       $810.00


07/30/2021      AS                                       .      $450.00       7.1      $3,195.00

                                                                 Totals:     92.7     $44,792.50
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                                                     Time Entry Sub-Total:   $44,792.50
                                                               Sub-Total:    $44,792.50


                                                                    Total:   $44,792.50
                                                           Amount Paid:           $0.00

                                                            Balance Due:     $44,792.50
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                    Balance          $36,315.00
Inc.                                                         Invoice #        20211647
IN HIS CAPACITY AS THE COURT-APPOINTED                       Invoice Date     August 31, 2021
RECEIVER                                                     Payment Terms    Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                     Due Date         August 31, 2021
United States


LKM Receivership

For services rendered between
August 01, 2021 and August 31, 2021

Time Entries

Date            EE                                                 Rate      Hours    Line Total

08/02/2021      AK                                              $675.00        1.0     $675.00

08/02/2021      AS                                              $450.00        6.6    $2,970.00


08/05/2021      AK                                              $675.00        2.0    $1,350.00




08/05/2021      SS                                              $600.00        1.5     $900.00




08/05/2021      AS                                              $450.00        3.4    $1,530.00



08/06/2021      AK                                              $675.00        2.0    $1,350.00


08/06/2021      AS                                              $450.00        3.5    $1,575.00


08/06/2021      AS                                              $450.00        1.1     $495.00


08/06/2021      NF                                              $325.00        0.6     $195.00
08/08/2021      AS                                              $450.00        0.9     $405.00

08/09/2021      AK                                              $675.00        0.6     $405.00
                                                      .
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08/09/2021      AS                                              $450.00       4.1     $1,845.00


08/10/2021      AK                                              $675.00       0.8      $540.00


08/10/2021      AS                                              $450.00       3.3     $1,485.00



08/10/2021      NF                                              $325.00       1.0      $325.00


08/11/2021      AS                                              $450.00       0.2       $90.00


08/12/2021      AK                                              $675.00       1.0      $675.00



08/12/2021      AS                                              $450.00       1.4      $630.00


08/13/2021      AK                                              $675.00       1.0      $675.00

08/13/2021      AS                                              $450.00       1.4      $630.00
08/15/2021      AS                                              $450.00       1.6      $720.00

08/16/2021      AK                                              $675.00       0.4      $270.00
                                      .

08/16/2021      AS                                              $450.00       3.1     $1,395.00


08/17/2021      AS                                              $450.00       0.9      $405.00


08/17/2021      NF                                              $325.00       0.7      $227.50


08/18/2021      AS                                              $450.00       3.5     $1,575.00


08/18/2021      AK                                              $675.00       1.5     $1,012.50

08/18/2021      AS                                              $450.00       6.6     $2,970.00
08/19/2021      AS                                       r      $450.00       2.0      $900.00

08/19/2021      AK                                              $675.00       0.8      $540.00

08/19/2021      AS                                              $450.00       3.6     $1,620.00

08/20/2021      CV                                              $250.00       0.2       $50.00

08/22/2021      AS                                              $450.00       0.2       $90.00


08/23/2021      AS                                              $450.00       2.7     $1,215.00


08/23/2021
                NF                                              $325.00       0.8      $260.00


08/24/2021      DBG                                             $450.00       0.6      $270.00

08/24/2021      AS                                              $450.00       4.5     $2,025.00
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08/25/2021      AS                                              $450.00             1.2       $540.00




08/26/2021      AS                                              $450.00             1.9       $855.00


08/27/2021      AS                                              $450.00             0.2        $90.00


08/30/2021      AS                                              $450.00             1.0       $450.00

08/31/2021      AS                                              $450.00             0.2        $90.00

                                                                 Totals:           75.6    $36,315.00


                                                                   Time Entry Sub-Total:   $36,315.00
                                                                              Sub-Total:   $36,315.00


                                                                                  Total:   $36,315.00
                                                                           Amount Paid:         $0.00

                                                                           Balance Due:    $36,315.00
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                 Balance         $5,732.50
Inc.                                                      Invoice #       20211648
IN HIS CAPACITY AS THE COURT-APPOINTED                    Invoice Date    September 30, 2021
RECEIVER                                                  Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                  Due Date        September 30, 2021
United States


LKM Receivership

For services rendered between
September 01, 2021 and September 30, 2021

Time Entries

Date            EE                                                 Rate     Hours     Line Total

09/01/2021      AS                                              $450.00       0.5      $225.00

09/07/2021      AS                                              $450.00       0.4      $180.00


09/08/2021      AS                                              $450.00       0.8      $360.00

09/09/2021      AK                           .                  $675.00       0.4      $270.00


09/09/2021      AS                                              $450.00       1.5      $675.00



09/10/2021      AS                                              $450.00       0.2       $90.00

09/12/2021      AS                                              $450.00       0.2       $90.00


09/13/2021      AS                                              $450.00       0.9      $405.00



09/14/2021      AS                                              $450.00       1.0      $450.00


09/15/2021      AS                                              $450.00       0.3      $135.00
09/16/2021      AS                                              $450.00       0.3      $135.00

09/21/2021      AS                                              $450.00       0.8      $360.00


09/23/2021      AS                                              $450.00       3.5     $1,575.00


09/23/2021      NF                                              $325.00       1.3      $422.50
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09/24/2021      AS                                              $450.00             0.3      $135.00
09/29/2021      AS                                              $450.00             0.2       $90.00


09/29/2021      AS                                              $450.00             0.3      $135.00


                                                                 Totals:           12.9    $5,732.50


                                                                   Time Entry Sub-Total:   $5,732.50
                                                                              Sub-Total:   $5,732.50


                                                                                  Total:   $5,732.50
                                                                           Amount Paid:        $0.00

                                                                           Balance Due:    $5,732.50
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322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                    Balance         $2,577.50
Inc.                                                         Invoice #       20211656
IN HIS CAPACITY AS THE COURT-APPOINTED                       Invoice Date    October 31, 2021
RECEIVER                                                     Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                     Due Date        October 31, 2021
United States


LKM Receivership

For services rendered between
October 01, 2021 and October 31, 2021

Time Entries

Date            EE                                                 Rate      Hours    Line Total

10/05/2021      AS                                              $450.00        0.2      $90.00

10/12/2021      NF                                              $325.00        0.5     $162.50


10/14/2021      AS                                              $450.00        0.4     $180.00


10/19/2021      AS                                              $450.00        0.6     $270.00



10/21/2021      SS                                              $600.00        1.5     $900.00



10/24/2021      AS                                              $450.00        0.3     $135.00




10/28/2021      SS                                              $600.00        1.4     $840.00



                                                                 Totals:       4.9    $2,577.50
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                                                      Time Entry Sub-Total:   $2,577.50
                                                                Sub-Total:    $2,577.50


                                                                     Total:   $2,577.50
                                                            Amount Paid:          $0.00

                                                             Balance Due:     $2,577.50
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                  Balance         $3,205.00
Inc.                                                       Invoice #       20211657
IN HIS CAPACITY AS THE COURT-APPOINTED                     Invoice Date    November 30, 2021
RECEIVER                                                   Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                   Due Date        November 30, 2021
United States


LKM Receivership

For services rendered between
November 01, 2021 and November 30, 2021

Time Entries

Date            EE                                                 Rate     Hours     Line Total

11/02/2021      AS                                              $450.00       0.7      $315.00


11/03/2021      AS                                              $450.00       0.2       $90.00


11/04/2021      AK                                              $675.00       0.6      $405.00


11/12/2021      AS                                              $450.00       0.2       $90.00


11/16/2021      AS                                              $450.00       0.1       $45.00


11/17/2021      AS                                              $450.00       0.5      $225.00


11/17/2021      NF                                              $325.00       0.5      $162.50


11/24/2021      AS                                              $450.00       0.8      $360.00


11/24/2021      NF                                              $325.00       0.5      $162.50


11/28/2021      AS                                              $450.00       0.3      $135.00




11/30/2021      SS                                              $600.00       1.2      $720.00
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11/30/2021      AS                                              $450.00             1.1      $495.00

                                                                 Totals:            6.7    $3,205.00


                                                                   Time Entry Sub-Total:   $3,205.00
                                                                              Sub-Total:   $3,205.00


                                                                                  Total:   $3,205.00
                                                                           Amount Paid:        $0.00

                                                                           Balance Due:    $3,205.00
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                  Balance         $28,288.51
Inc.                                                       Invoice #       20211632
IN HIS CAPACITY AS THE COURT-APPOINTED                     Invoice Date    December 31, 2021
RECEIVER                                                   Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                   Due Date        December 31, 2021
United States


LKM Receivership

For services rendered between
December 01, 2021 and December 31, 2021

Time Entries

Date            EE    Description                                  Rate     Hours     Line Total

12/02/2021      AS                                              $450.00       2.2      $990.00



12/06/2021      SS                                              $600.00       2.9     $1,740.00



12/06/2021      AS                                              $450.00       1.6      $720.00


12/07/2021      AS                                              $450.00       0.2       $90.00




12/08/2021      SS                                              $600.00       3.7     $2,220.00




12/08/2021      AS                                              $450.00       0.7      $315.00


12/13/2021      AS                                              $450.00       0.7      $315.00


12/14/2021      AS                                              $450.00       0.2       $90.00


12/15/2021      AS                                              $450.00       0.4      $180.00

12/17/2021      AS                                              $450.00       1.1      $495.00
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12/20/2021      AS                                              $450.00       3.3      $1,485.00



12/21/2021      AS                                              $450.00       3.2      $1,440.00



12/21/2021      NF                                              $325.00       1.7       $552.50



12/22/2021      AS                                              $450.00       2.2       $990.00



12/22/2021      NF                                              $325.00       2.4       $780.00


12/23/2021      AS                                              $450.00       0.5       $225.00

12/23/2021      NF                                              $325.00       0.8       $260.00


12/24/2021      AK                                              $675.00       2.0      $1,350.00
                                                          .


12/24/2021      AS                                              $450.00       4.5      $2,025.00




12/24/2021      SS                                              $600.00       2.7      $1,620.00




12/25/2021      AK                                              $675.00       2.0      $1,350.00


12/26/2021      AS                                              $450.00       1.5       $675.00


12/26/2021      AK                                              $675.00       1.0       $675.00

12/27/2021      AK                                              $675.00       1.0       $675.00
                                       .

12/27/2021      AS                                              $450.00       1.6       $720.00


12/27/2021      NF                                              $325.00       1.3       $422.50




12/28/2021      SS                                              $600.00       4.2      $2,520.00




12/28/2021      NF                                              $325.00       1.0       $325.00


                                                                 Totals:     50.6     $25,245.00
Expenses
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Date             EE     Description                                            Cost        Line Total


12/07/2021       SS                                                       $3,043.51        $3,043.51


                                                                     Expense Total:        $3,043.51


                                                                  Time Entry Sub-Total:   $25,245.00
                                                                    Expense Sub-Total:     $3,043.51
                                                                            Sub-Total:    $28,288.51


                                                                                 Total:   $28,288.51
                                                                        Amount Paid:           $0.00

                                                                         Balance Due:     $28,288.51
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                    Balance         $16,011.00
Inc.                                                         Invoice #       20211633
IN HIS CAPACITY AS THE COURT-APPOINTED                       Invoice Date    January 31, 2022
RECEIVER                                                     Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                     Due Date        January 31, 2022
United States


LKM Receivership

For services rendered between
January 01, 2022 and January 31, 2022

Time Entries

Date            EE    Description                                  Rate      Hours    Line Total

01/04/2022      AK                                              $675.00        1.0     $675.00


01/04/2022      AS                                              $450.00        0.6     $270.00

01/07/2022      AS                                              $450.00        0.2      $90.00

01/07/2022      AK                                              $675.00        0.5     $337.50


01/10/2022      AK                                              $675.00        1.0     $675.00

01/11/2022      AK                                              $675.00        1.2     $810.00

01/12/2022      AK                                              $675.00        1.0     $675.00


01/12/2022      AS                                              $450.00        0.6     $270.00

01/14/2022      NF                                              $325.00        0.7     $227.50

01/17/2022      NF                                              $325.00        0.8     $260.00

01/18/2022      AK                                     .        $675.00        0.4     $270.00


01/18/2022      AS                                              $450.00        0.9     $405.00


01/18/2022      NF                                              $325.00        0.7     $227.50


01/18/2022      XZ                                              $495.00        1.7     $841.50
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01/20/2022      AS                                              $450.00             0.6       $270.00


01/20/2022      XZ                                              $495.00             1.3       $643.50


01/21/2022      AK                                              $675.00             0.5       $337.50


01/21/2022      AS                                              $450.00             1.8       $810.00


01/21/2022      NF                                              $325.00             0.7       $227.50


01/24/2022      AS                                              $450.00             1.3       $585.00




01/24/2022      XZ                                              $495.00             2.2     $1,089.00



01/25/2022      AS                                              $450.00             1.6       $720.00



01/25/2022      XZ                                              $495.00             4.2     $2,079.00




01/26/2022      XZ                                              $495.00             0.5       $247.50


01/26/2022      AS                                              $450.00             1.2       $540.00


01/26/2022      XZ                                              $495.00             1.4       $693.00


01/26/2022      NF                                              $325.00             0.7       $227.50


01/27/2022      XZ                                              $495.00             0.4       $198.00

01/27/2022      AS                                              $450.00             0.2        $90.00


01/28/2022      XZ                                              $495.00             1.1       $544.50


01/28/2022      AS                                              $450.00             1.2       $540.00


01/31/2022      AS                                              $450.00             0.3       $135.00

                                                                 Totals:           32.5    $16,011.00


                                                                   Time Entry Sub-Total:   $16,011.00
                                                                              Sub-Total:   $16,011.00


                                                                                  Total:   $16,011.00
                                                                           Amount Paid:         $0.00

                                                                           Balance Due:    $16,011.00
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                   Balance         $18,568.50
Inc.                                                        Invoice #       20211658
IN HIS CAPACITY AS THE COURT-APPOINTED                      Invoice Date    February 28, 2022
RECEIVER                                                    Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                    Due Date        February 28, 2022
United States


LKM Receivership

For services rendered between
February 01, 2022 and February 28, 2022

Time Entries

Date            EE    Description                                  Rate     Hours     Line Total

02/02/2022      AK                                    .         $675.00       0.7      $472.50

02/02/2022      AS                                              $450.00       0.4      $180.00


02/02/2022      AS                                              $450.00       1.1      $495.00



02/03/2022      AS                                              $450.00       1.4      $630.00


02/03/2022      XZ                                              $495.00       1.5      $742.50


02/03/2022      AK                                              $675.00       0.5      $337.50

02/03/2022      NF                                              $325.00       0.2       $65.00

02/04/2022      AK                                              $675.00       0.5      $337.50


02/04/2022      XZ                                              $495.00       0.5      $247.50


02/04/2022      CV                                              $250.00       0.3       $75.00

02/05/2022      XZ                                              $495.00       0.3      $148.50




02/07/2022      XZ                                              $495.00       2.8     $1,386.00
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02/07/2022      AK                                              $675.00      1.0       $675.00
                                .

02/07/2022      XZ                                              $495.00      1.1       $544.50


02/08/2022      XZ                                              $495.00      2.5      $1,237.50



02/08/2022      XZ                                              $495.00      2.1      $1,039.50



02/08/2022      XZ                                              $495.00      1.5       $742.50



02/08/2022      AK                                              $675.00      1.2       $810.00
                      .


02/09/2022      AK                                              $675.00      0.5       $337.50



02/09/2022      XZ                                              $495.00      1.1       $544.50



02/09/2022      XZ                                              $495.00      0.5       $247.50


02/10/2022      XZ                                              $495.00      0.6       $297.00


02/10/2022      XZ                                              $495.00      0.5       $247.50



02/10/2022      NF                                              $325.00      0.5       $162.50




02/11/2022      XZ                                              $495.00      1.1       $544.50



02/14/2022      XZ                                              $495.00      0.4       $198.00


02/15/2022      AK                                              $675.00      0.5       $337.50


02/16/2022      XZ                                              $495.00      0.4       $198.00


02/16/2022      AK                           .                  $675.00      0.5       $337.50
02/16/2022      NF                                              $325.00      0.9       $292.50

02/17/2022      XZ                                              $495.00      1.2       $594.00


02/17/2022      AK                                              $675.00      1.0       $675.00
                                                 .

02/17/2022      NF                                              $325.00      0.4       $130.00

02/18/2022      AK                                              $675.00      0.7       $472.50
                            .

02/18/2022      XZ                                              $495.00      0.5       $247.50
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02/19/2022      XZ                                              $495.00             0.3       $148.50
02/20/2022      AS                                              $400.00             0.7       $280.00
02/21/2022      XZ                                              $495.00             0.3       $148.50

02/21/2022      AS                                              $400.00             0.3       $120.00


02/22/2022      XZ                                              $495.00             0.4       $198.00

02/22/2022      AS                                              $450.00             0.3       $135.00
02/23/2022      NF                                              $325.00             0.6       $195.00

02/24/2022      XZ                                              $495.00             0.2        $99.00


02/24/2022      AK                                              $675.00             0.4       $270.00


02/24/2022      AS                                              $450.00             0.4       $180.00

02/27/2022      AS                                              $450.00             0.6       $270.00


02/28/2022      AS                                              $450.00             0.5       $225.00



02/28/2022      AK                                              $675.00             0.4       $270.00

                                                                 Totals:           36.3    $18,568.50


                                                                   Time Entry Sub-Total:   $18,568.50
                                                                              Sub-Total:   $18,568.50


                                                                                  Total:   $18,568.50
                                                                           Amount Paid:         $0.00

                                                                           Balance Due:    $18,568.50
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                      Balance         $56,038.50
Inc.                                                           Invoice #       20211659
IN HIS CAPACITY AS THE COURT-APPOINTED                         Invoice Date    March 31, 2022
RECEIVER                                                       Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                       Due Date        March 31, 2022
United States


LKM Receivership

For services rendered between
March 01, 2022 and March 31, 2022

Time Entries

Date            EE    Description                                  Rate     Hours     Line Total

03/01/2022      AS                                              $450.00        0.5     $225.00


03/01/2022      XZ                                              $495.00        0.4     $198.00


03/02/2022      XZ                                              $495.00        0.4     $198.00
                                            .

03/02/2022      AS                                              $450.00        0.4     $180.00

03/03/2022      AK                                              $675.00        0.4     $270.00


03/03/2022      XZ                                              $495.00        1.6     $792.00
                                            .


03/03/2022      AS                                              $450.00        2.0     $900.00



03/04/2022      XZ                                              $495.00        1.1     $544.50



03/04/2022      AS                                              $450.00        0.4     $180.00


03/06/2022      XZ                                              $495.00        0.4     $198.00
                                                   .
03/06/2022      AS                                     ;        $450.00        1.1     $495.00

03/07/2022      XZ                                         .    $495.00        0.6     $297.00
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03/07/2022      XZ                                              $495.00       1.2      $594.00


03/07/2022      AS                                              $450.00       2.7     $1,215.00



03/08/2022      XZ                                              $495.00       1.3      $643.50
                                        .

03/08/2022      AS                                              $450.00       0.7      $315.00


03/09/2022      XZ                                              $495.00       0.6      $297.00


03/09/2022      AS                                              $450.00       0.5      $225.00


03/09/2022      XZ                                              $495.00       0.4      $198.00


03/10/2022      AS                                              $450.00       2.2      $990.00


03/10/2022      XZ                                              $495.00       0.8      $396.00


03/10/2022      XZ                                              $495.00       0.5      $247.50

03/11/2022      XZ                          .                   $495.00       0.6      $297.00



03/14/2022      AK                                              $675.00       4.5     $3,037.50



03/14/2022      XZ                                              $495.00       0.9      $445.50
                                .
03/14/2022      XZ                                              $495.00       1.5      $742.50

03/14/2022      AS                                              $450.00       2.9     $1,305.00

03/14/2022      XZ                                              $495.00       1.4      $693.00


03/15/2022      AK                                              $675.00       5.5     $3,712.50




03/15/2022      XZ                                              $495.00       3.5     $1,732.50


03/15/2022      AS                                              $450.00       0.7      $315.00

03/15/2022      XZ                                              $495.00       0.5      $247.50


03/16/2022      AK                                              $675.00       2.5     $1,687.50
                                                     .


03/16/2022      XZ                                              $495.00       2.8     $1,386.00


03/16/2022      AS                                              $450.00       0.2       $90.00

03/17/2022      AK                                              $675.00       1.4      $945.00
                            .
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03/17/2022      XZ                                              $495.00       1.3       $643.50

03/17/2022      XZ                                              $495.00       1.0       $495.00

03/17/2022      AS                                              $450.00       0.1        $45.00

03/18/2022      AK                                              $675.00       1.5      $1,012.50

03/18/2022      XZ                                              $495.00       6.2      $3,069.00


03/18/2022      XZ                                              $495.00       1.4       $693.00
                           .

03/20/2022      AK                                              $675.00       1.5      $1,012.50


03/20/2022      XZ                                              $495.00       3.0      $1,485.00
                                                         .

03/21/2022      AK                                              $675.00       2.5      $1,687.50


03/21/2022      XZ                                              $495.00       6.1      $3,019.50


03/21/2022      AS                                              $450.00       9.1      $4,095.00

03/22/2022      XZ                                              $495.00       2.3      $1,138.50

03/22/2022      XZ                                              $495.00       0.5       $247.50

03/23/2022      XZ    (                                         $495.00       0.3       $148.50

03/23/2022      AS                                              $450.00       0.4       $180.00


03/24/2022      AK                                              $675.00       3.0      $2,025.00


03/24/2022      XZ                                              $495.00       1.4       $693.00


03/24/2022      AS                                              $450.00       3.3      $1,485.00


03/25/2022      XZ                                              $495.00       1.1       $544.50


03/25/2022      AK                                              $675.00       3.0      $2,025.00


03/25/2022      AS                                              $450.00       3.7      $1,665.00

03/29/2022      XZ                                              $495.00       1.1       $544.50

03/30/2022      AS                                              $450.00       0.7       $315.00

03/30/2022      XZ                                              $495.00       0.4       $198.00

03/31/2022      AK                                              $675.00       1.0       $675.00

03/31/2022      XZ                                 ims          $495.00       0.7       $346.50

03/31/2022      AS                                              $450.00       0.7       $315.00

                                                                 Totals:    106.4     $56,038.50
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                                                     Time Entry Sub-Total:   $56,038.50
                                                               Sub-Total:    $56,038.50


                                                                    Total:   $56,038.50
                                                           Amount Paid:           $0.00

                                                            Balance Due:     $56,038.50
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                     Balance          $7,128.00
Inc.                                                          Invoice #        20211660
IN HIS CAPACITY AS THE COURT-APPOINTED                        Invoice Date     April 30, 2022
RECEIVER                                                      Payment Terms    Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                      Due Date         April 30, 2022
United States


LKM Receivership

For services rendered between
April 01, 2022 and April 30, 2022

Time Entries

Date            EE    Description                                  Rate     Hours     Line Total

04/01/2022      XZ                                              $495.00        1.8     $891.00


04/01/2022      AK                                              $675.00        1.8    $1,215.00


04/01/2022      AS                                              $450.00        0.4     $180.00


04/05/2022      XZ                                              $495.00        1.9     $940.50


04/05/2022      AS                                              $450.00        2.1     $945.00


04/05/2022      AK                                              $675.00        3.0    $2,025.00


04/08/2022      AS                                              $450.00        0.4     $180.00

04/08/2022      XZ                                              $495.00        0.5     $247.50


04/25/2022      AS                                              $450.00        0.9     $405.00

04/29/2022      XZ                                              $495.00        0.2      $99.00

                                                                 Totals:      13.0    $7,128.00
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                                                      Time Entry Sub-Total:   $7,128.00
                                                                Sub-Total:    $7,128.00


                                                                     Total:   $7,128.00
                                                            Amount Paid:          $0.00

                                                             Balance Due:     $7,128.00
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                     Balance         $4,788.00
Inc.                                                          Invoice #       20211661
IN HIS CAPACITY AS THE COURT-APPOINTED                        Invoice Date    May 31, 2022
RECEIVER                                                      Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                      Due Date        May 31, 2022
United States


LKM Receivership

For services rendered between
May 01, 2022 and May 31, 2022

Time Entries

Date            EE    Description                                  Rate     Hours     Line Total

05/20/2022      AS                                              $450.00       1.7      $765.00


05/23/2022      XZ                                              $495.00       0.6      $297.00


05/24/2022      XZ                                              $495.00       0.3      $148.50

05/24/2022      AS                                              $450.00       0.9      $405.00

05/25/2022      XZ                                              $495.00       0.6      $297.00

05/25/2022      AS                                              $450.00       0.2       $90.00


05/26/2022      XZ                                              $495.00       0.9      $445.50


05/26/2022      XZ                                              $495.00       0.6      $297.00


05/26/2022      XZ                                              $495.00       0.6      $297.00


05/26/2022      AK                                              $675.00       1.2      $810.00


05/26/2022      XZ                                              $495.00       0.4      $198.00


05/30/2022      AS                                              $450.00       0.5      $225.00


05/31/2022      XZ                                              $495.00       0.4      $198.00
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05/31/2022      AS                                              $450.00             0.7      $315.00

                                                                 Totals:            9.6    $4,788.00


                                                                   Time Entry Sub-Total:   $4,788.00
                                                                              Sub-Total:   $4,788.00


                                                                                  Total:   $4,788.00
                                                                           Amount Paid:        $0.00

                                                                           Balance Due:    $4,788.00
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                     Balance         $8,676.50
Inc.                                                          Invoice #       20211662
IN HIS CAPACITY AS THE COURT-APPOINTED                        Invoice Date    June 30, 2022
RECEIVER                                                      Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                      Due Date        June 30, 2022
United States


LKM Receivership

For services rendered between
June 01, 2022 and June 30, 2022

Time Entries

Date            EE    Description                                  Rate     Hours     Line Total
06/01/2022      AS                                              $450.00       1.3      $585.00
06/01/2022      XZ                                              $495.00       0.6      $297.00

06/02/2022      AS                                              $450.00       1.8      $810.00

06/03/2022      XZ                                              $495.00       1.0      $495.00


06/03/2022      AK                                              $675.00       0.6      $405.00


06/03/2022      AS                                              $450.00       3.5     $1,575.00


06/05/2022      AS                                              $450.00       0.3      $135.00

06/06/2022      XZ                                              $495.00       0.4      $198.00


06/06/2022      AS                                              $450.00       0.7      $315.00


06/07/2022      XZ                                              $495.00       0.7      $346.50


06/07/2022      XZ                                              $495.00       0.5      $247.50


06/07/2022      AS                                              $450.00       0.8      $360.00


06/07/2022      AK                                              $675.00       0.8      $540.00

06/09/2022      XZ                                              $495.00       0.6      $297.00
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06/09/2022      XZ                                              $495.00             0.2       $99.00


06/09/2022      AS                                              $450.00             2.3    $1,035.00

06/13/2022      AS                                              $450.00             0.3      $135.00

06/21/2022      XZ                                              $495.00             0.2       $99.00

06/21/2022      AS                                              $450.00             0.2       $90.00
06/21/2022      NF                                              $325.00             0.5      $162.50

06/22/2022      AS                                              $450.00             0.4      $180.00


06/29/2022      AS                                              $450.00             0.3      $135.00


06/30/2022      AS                                              $450.00             0.3      $135.00

                                                                 Totals:           18.3    $8,676.50


                                                                   Time Entry Sub-Total:   $8,676.50
                                                                              Sub-Total:   $8,676.50


                                                                                  Total:   $8,676.50
                                                                           Amount Paid:        $0.00

                                                                           Balance Due:    $8,676.50
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                     Balance         $11,001.50
Inc.                                                          Invoice #       20211634
IN HIS CAPACITY AS THE COURT-APPOINTED                        Invoice Date    July 31, 2022
RECEIVER                                                      Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                      Due Date        July 31, 2022
United States


LKM Receivership

For services rendered between
July 01, 2022 and July 31, 2022

Time Entries

Date            EE    Description                                  Rate     Hours     Line Total
07/01/2022      AS                                              $450.00       0.4      $180.00
07/03/2022      AS                                              $450.00       0.2       $90.00

07/04/2022      AS                                              $450.00       1.1      $495.00

07/05/2022      XZ                                              $495.00       1.8      $891.00


07/05/2022      XZ                                              $495.00       2.0      $990.00


07/05/2022      AS                                              $450.00       0.6      $270.00

07/06/2022      XZ                                              $495.00       0.9      $445.50

07/06/2022      XZ                                              $495.00       1.4      $693.00


07/06/2022      AS                                              $450.00       0.9      $405.00


07/07/2022      XZ                                              $495.00       1.7      $841.50


07/07/2022      AS                                              $450.00       1.6      $720.00


07/07/2022      NF                                              $325.00       0.8      $260.00


07/08/2022      XZ                                              $495.00       0.4      $198.00

07/08/2022      AK                                              $675.00       2.3     $1,552.50
07/08/2022      AS                                              $450.00       1.6      $720.00
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07/08/2022      NF                                              $325.00             2.0       $650.00


07/08/2022      RB                                              $250.00             0.4       $100.00
07/09/2022      RB                                              $250.00             0.1        $25.00

07/24/2022      AS                                              $450.00             0.3       $135.00


07/25/2022      AS                                              $450.00             0.3       $135.00


07/26/2022      XZ                                              $495.00             1.0       $495.00


07/26/2022      AS                                              $450.00             0.6       $270.00

07/28/2022      RB                                              $250.00             0.5       $125.00

07/28/2022      AS                                              $450.00             0.3       $135.00

07/31/2022      AS                                              $450.00             0.4       $180.00

                                                                 Totals:           23.6    $11,001.50


                                                                   Time Entry Sub-Total:   $11,001.50
                                                                              Sub-Total:   $11,001.50


                                                                                  Total:   $11,001.50
                                                                           Amount Paid:         $0.00

                                                                           Balance Due:    $11,001.50
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                    Balance          $6,715.00
Inc.                                                         Invoice #        20211643
IN HIS CAPACITY AS THE COURT-APPOINTED                       Invoice Date     August 31, 2022
RECEIVER                                                     Payment Terms    Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                     Due Date         August 31, 2022
United States


LKM Receivership

For services rendered between
August 01, 2022 and August 31, 2022

Time Entries

Date            EE    Description                                  Rate      Hours    Line Total

08/01/2022      XZ                                              $495.00        0.3     $148.50


08/01/2022      AK                                              $675.00        3.5    $2,362.50

08/01/2022      AS                                              $450.00        0.3     $135.00

08/01/2022      XZ                                              $495.00        0.4     $198.00

08/05/2022      XZ                                              $495.00        0.3     $148.50

08/10/2022      XZ                                              $495.00        0.3     $148.50
08/10/2022      RWS                                             $750.00        1.6    $1,200.00

08/17/2022      AS                                              $450.00        0.4     $180.00
08/22/2022      AS                                              $450.00        0.3     $135.00


08/29/2022      XZ                                              $495.00        0.5     $247.50


08/29/2022      AS                                              $450.00        1.2     $540.00

08/29/2022      RB                                              $250.00        0.2      $50.00

08/30/2022      OJ                                              $250.00        0.5     $125.00

08/30/2022      XZ                                              $495.00        0.7     $346.50


08/30/2022      AS                                              $450.00        1.3     $585.00

08/30/2022      RB                                              $250.00        0.3      $75.00
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08/31/2022      AS                                              $450.00             0.2       $90.00

                                                                 Totals:           12.3    $6,715.00


                                                                   Time Entry Sub-Total:   $6,715.00
                                                                              Sub-Total:   $6,715.00


                                                                                  Total:   $6,715.00
                                                                           Amount Paid:        $0.00

                                                                           Balance Due:    $6,715.00
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                 Balance         $35,294.50
Inc.                                                      Invoice #       20211644
IN HIS CAPACITY AS THE COURT-APPOINTED                    Invoice Date    September 30, 2022
RECEIVER                                                  Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                  Due Date        September 30, 2022
United States


LKM Receivership

For services rendered between
September 01, 2022 and September 30, 2022

Time Entries

Date            EE    Description                                  Rate     Hours     Line Total


09/01/2022      AS                                              $450.00       0.7      $315.00


09/02/2022      XZ                                              $495.00       0.5      $247.50

09/04/2022      AS                                              $450.00       0.5      $225.00

09/05/2022      AS                                              $450.00       0.8      $360.00


09/06/2022      AS                                              $450.00       3.1     $1,395.00


09/07/2022      XZ                                              $495.00       0.4      $198.00

09/07/2022      AK                                              $675.00       1.0      $675.00
                            .

09/07/2022      AS                                              $450.00       1.3      $585.00

09/08/2022      XZ                        .                     $495.00       1.0      $495.00
09/08/2022      XZ                              .               $495.00       0.7      $346.50

09/08/2022      RB                                              $250.00       0.3       $75.00


09/08/2022      AS                                              $450.00       3.8     $1,710.00

09/09/2022      XZ                                              $495.00       0.3      $148.50


09/09/2022      AS                                              $450.00       2.6     $1,170.00
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09/09/2022      NF                                              $325.00      1.1       $357.50

09/11/2022      AS                                              $450.00      0.8       $360.00


09/12/2022      AK                                              $675.00      1.2       $810.00


09/12/2022      XZ                                              $495.00      1.8       $891.00


09/12/2022      AS                                              $450.00      4.0      $1,800.00


09/12/2022      AS                                              $450.00      3.5      $1,575.00

09/12/2022      NF                                              $325.00      0.5       $162.50

09/12/2022      DBG                                             $450.00      0.4       $180.00

09/13/2022      AS                                              $450.00      0.3       $135.00
09/14/2022      XZ                                              $495.00      0.7       $346.50

09/14/2022      XZ                                              $495.00      0.8       $396.00

09/14/2022      AS                                              $450.00      2.4      $1,080.00

09/14/2022      NF                                              $325.00      0.3        $97.50


09/15/2022      XZ                                              $495.00      0.8       $396.00


09/15/2022      AS                                              $450.00      2.4      $1,080.00


09/16/2022      XZ                                              $495.00      0.9       $445.50

09/16/2022      XZ                                              $495.00      1.1       $544.50


09/16/2022      AS                                              $450.00      0.5       $225.00


                                          l
09/16/2022      RB                                              $250.00      1.2       $300.00

09/16/2022      RB                                              $250.00      0.4       $100.00

09/19/2022      AS                                              $450.00      1.0       $450.00
                                                         .

09/19/2022      NF                                              $325.00      1.0       $325.00


09/20/2022      XZ                                              $495.00      1.6       $792.00


09/20/2022      XZ                                              $495.00      3.4      $1,683.00
                                      .

09/20/2022      AS                                              $450.00      6.9      $3,105.00

09/21/2022      XZ                                              $495.00      0.4       $198.00


09/21/2022      AS                                              $450.00      4.6      $2,070.00


09/22/2022      XZ                                              $495.00      0.2        $99.00
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09/22/2022      XZ                                              $495.00             1.5       $742.50
                                         .

09/22/2022      RB                                              $250.00             0.4       $100.00

09/22/2022      AS                                              $450.00             5.3     $2,385.00


09/23/2022      AS                                              $450.00             1.8       $810.00


09/26/2022      XZ                                              $495.00             2.1     $1,039.50


09/26/2022      AK                                              $675.00             1.0       $675.00

09/26/2022      AS                                              $450.00             0.4       $180.00
09/26/2022      RB                                              $250.00             0.4       $100.00

09/26/2022      NF                                              $325.00             0.5       $162.50
                                     e

09/27/2022      XZ                                              $495.00             0.9       $445.50


09/27/2022      AS                                              $450.00             0.3       $135.00

09/27/2022      RB                                              $250.00             0.3        $75.00

09/28/2022      RB                                              $250.00             0.4       $100.00


09/28/2022      RB                                              $250.00             0.5       $125.00


09/28/2022      AS                                              $450.00             0.2        $90.00


09/30/2022      AS                                              $450.00             0.4       $180.00

                                                                 Totals:           77.6    $35,294.50


                                                                   Time Entry Sub-Total:   $35,294.50
                                                                              Sub-Total:   $35,294.50


                                                                                  Total:   $35,294.50
                                                                           Amount Paid:         $0.00

                                                                           Balance Due:    $35,294.50
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                    Balance         $35,105.50
Inc.                                                         Invoice #       20211645
IN HIS CAPACITY AS THE COURT-APPOINTED                       Invoice Date    October 31, 2022
RECEIVER                                                     Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                     Due Date        October 31, 2022
United States


LKM Receivership

For services rendered between
October 01, 2022 and October 31, 2022

Time Entries

Date            EE    Description                                  Rate      Hours    Line Total

10/03/2022      AS                                              $450.00        2.3    $1,035.00

10/03/2022      NF                                              $325.00        1.1     $357.50

10/04/2022      RWS                                             $750.00        2.0    $1,500.00


10/04/2022      AS                                              $450.00        2.0     $900.00


10/05/2022      AK                                              $675.00        1.0     $675.00
                                    .

10/05/2022      RB                                              $250.00        0.3      $75.00


10/05/2022      AS                                              $450.00        2.6    $1,170.00

10/05/2022      NF                                              $325.00        0.8     $260.00

10/06/2022      RWS                                             $750.00        1.6    $1,200.00


10/06/2022      AS                                              $450.00        0.5     $225.00


10/06/2022      OJ                                              $250.00        2.1     $525.00

10/07/2022      AS                                              $450.00        0.4     $180.00

10/07/2022      OJ                                              $250.00        5.2    $1,300.00
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10/10/2022      AS                                              $450.00      0.6       $270.00



10/10/2022      XZ                                              $495.00      0.7       $346.50


10/10/2022      OJ                                              $250.00      3.3       $825.00


10/11/2022      AS                                              $450.00      1.4       $630.00

10/12/2022      XZ                            .                 $495.00      0.4       $198.00

10/12/2022      AS                                              $450.00      1.0       $450.00


10/12/2022      AK                                              $675.00      0.8       $540.00


10/16/2022      AS                                              $450.00      1.3       $585.00




10/17/2022      AS                                              $450.00      6.3      $2,835.00



10/18/2022      XZ                      .                       $495.00      1.2       $594.00


10/18/2022      AS                                              $450.00      9.0      $4,050.00


10/18/2022      RB                                              $250.00      0.4       $100.00

10/19/2022      XZ                                              $495.00      1.3       $643.50

10/19/2022      RB                                              $250.00      0.4       $100.00


10/19/2022      XZ                                              $495.00      1.8       $891.00


10/19/2022      AK                                              $675.00      2.0      $1,350.00


10/19/2022      AS                                              $450.00      6.1      $2,745.00


10/19/2022      RB                                              $250.00      0.5       $125.00

10/19/2022      NF                                              $325.00      1.0       $325.00


10/20/2022      RB                                              $250.00      0.2        $50.00


10/24/2022      LD                                              $250.00      0.4       $100.00



10/24/2022      AS                                              $450.00      1.0       $450.00


10/24/2022      NF                                              $325.00      1.1       $357.50
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10/25/2022      AS                                              $450.00             2.3     $1,035.00


10/25/2022      NF                                              $325.00             1.6       $520.00


10/25/2022      SS                                              $600.00             3.5     $2,100.00


10/26/2022      AS                                              $450.00             0.3       $135.00


10/26/2022      NF                                              $325.00             1.4       $455.00


10/27/2022      AS                                              $450.00             0.3       $135.00


10/27/2022      NF                                              $325.00             0.6       $195.00

10/28/2022      AS                                              $450.00             1.9       $855.00

10/28/2022      NF                                              $325.00             0.7       $227.50

10/31/2022      AS                                              $450.00             0.8       $360.00

10/31/2022      PKL                                             $450.00             2.5     $1,125.00

                                                                 Totals:           80.0    $35,105.50


                                                                   Time Entry Sub-Total:   $35,105.50
                                                                              Sub-Total:   $35,105.50


                                                                                  Total:   $35,105.50
                                                                           Amount Paid:         $0.00

                                                                           Balance Due:    $35,105.50
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Seiden Law Group LLP, Attorneys at Law
322 8th Avenue
Suite 1704
New York, NY 10001
United States
212-523-0686



Court Appointed Receiver for Link Motion,                     Balance         $48,747.50
Inc.                                                          Invoice #       20211646
IN HIS CAPACITY AS THE COURT-APPOINTED                        Invoice Date    November 17, 2022
RECEIVER                                                      Payment Terms   Due on Receipt
469 Seventh Avenue, 5th Floor, Suite 502
New York, New York 10018                                      Due Date        November 17, 2022
United States


LKM Receivership

For services rendered between
November 01, 2022 and November 17, 2022

Time Entries

Date            EE    Description                                     Rate     Hours    Line Total

11/01/2022      AK                                                 $675.00       1.0     $675.00


11/01/2022      AS                                                 $450.00       0.5     $225.00


11/01/2022      PKL                                                $450.00       4.4    $1,980.00


11/02/2022      AK                                                 $675.00       0.3     $202.50
                                                          .

11/02/2022      PKL                                                $450.00       0.5     $225.00


11/02/2022      AS                                                 $450.00       0.5     $225.00

11/04/2022      XZ                                                 $495.00       0.6     $297.00

11/07/2022      NF                                                 $325.00       0.6     $195.00

11/07/2022      PKL                                                $450.00       3.9    $1,755.00


11/08/2022      NF                                                 $325.00       2.9     $942.50


11/09/2022      AS                                                 $450.00       0.4     $180.00


11/09/2022      NF                                                 $325.00       1.5     $487.50


11/10/2022      OJ                                                 $250.00       3.2     $800.00
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11/10/2022      AS                                              $450.00      0.7       $315.00


11/10/2022      PKL                                             $450.00      8.0      $3,600.00


11/10/2022      LD                                              $250.00      0.6       $150.00



11/10/2022      NF                                              $325.00      0.9       $292.50


11/11/2022      PKL                                             $450.00      7.6      $3,420.00


11/11/2022      LD                                              $250.00      3.1       $775.00


11/11/2022      OJ                                              $250.00      0.4       $100.00


11/13/2022      AS                                              $450.00      0.4       $180.00


11/14/2022      XZ                                              $495.00      1.9       $940.50
                                     .

11/14/2022      OJ                                              $250.00      4.2      $1,050.00



11/14/2022      PKL                                             $450.00      8.1      $3,645.00




11/14/2022      LD                                              $250.00      7.1      $1,775.00


11/14/2022      AS                                              $450.00      0.7       $315.00

11/14/2022      NF                                              $325.00      0.5       $162.50

11/15/2022      PKL                                             $450.00      1.8       $810.00


11/15/2022      LD                                              $250.00      0.2        $50.00



11/15/2022      LD                                              $250.00      3.4       $850.00



11/15/2022      PKL                                             $450.00      7.6      $3,420.00


11/15/2022      OJ                                              $250.00      1.3       $325.00


11/15/2022      AS                                              $450.00      2.5      $1,125.00


11/15/2022      XZ                                              $495.00      2.2      $1,089.00


11/15/2022      NF                                              $325.00      2.6       $845.00



11/16/2022      OJ                                              $250.00      5.2      $1,300.00
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11/16/2022      PKL                                             $450.00             7.2     $3,240.00



11/16/2022      LD                                              $250.00             3.6       $900.00



11/16/2022      XZ                                              $495.00             6.3     $3,118.50
                                                      .

11/16/2022      AS                                              $450.00             7.3     $3,285.00



11/16/2022      SS                                              $600.00             3.6     $2,160.00




11/17/2022      SS                                              $600.00             2.2     $1,320.00


                                                                 Totals:          121.5    $48,747.50


                                                                   Time Entry Sub-Total:   $48,747.50
                                                                              Sub-Total:   $48,747.50


                                                                                  Total:   $48,747.50
                                                                           Amount Paid:         $0.00

                                                                           Balance Due:    $48,747.50
